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10   Lan, Liu Liu, And All Those Similarly Situated
11
12                                    UNITED STATES DISTRICT COURT

13                               NORTHERN DISTRICT OF CALIFORNIA
14
15                                                     Case No.
     JINHUA ZOU, an individual; YU XIA LU, an
16   individual; CHUANJIE YANG, an individual;
     OLLIE LAN aka RUONING LAN, an individual;
17   LIU LIU, an individual, and all those similarly
     situated,                                         ORIGINAL COMPLAINT –
                                                       CLASS ACTION
18
                        Plaintiffs,
19
     v.
20
     MARKET AMERICA, INC., a North Carolina            [DEMAND FOR JURY TRIAL]
21   Corporation; MARKET AMERICA
     WORLDWIDE, INC., a North Carolina
22   Corporation; SHOP MA, INC., a Florida
     Corporation; JAMES HOWARD RIDINGER, an
23   individual; LOREN RIDINGER, an individual;
24   MARC ASHLEY, an individual; MARTY
     WEISSMAN, an individual; DENNIS FRANKS,
25   an individual; JOE BOLYARD, an individual;
     ANTHONY AKERS, an individual; EDDY
26   ALBERTY, an individual; STEVE ASHLEY, an
     individual; MICHAEL BRADY, an individual;
27   KEVIN BUCKMAN, an individual; PETER
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     ORIGINAL COMPLAINT – CLASS ACTION                                           1
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     GOLD, an individual; VINCE HUNT, an
1    individual; CHRIS PEDDYCORD, an individual;
2    BRANDI QINN, an individual; SAM RITCHIE,
     an individual; EUGENE WALLACE, an
3    individual; JIM WINKLER, an individual;
     ELIZABETH WEBER, an individual; JOANNE
4    HSI, an individual; BENJAMIN GINDER, JR., an
     individual; DOLLY KUO, an individual; MING-
5
     CHU KUO, an individual; FRANK J. KEEFER,
6    an individual; JUNE YU SHAN, an individual;
     ACE LEE, an individual; STEPHANIE LEE, an
7    individual; MIN LIU, an individual; PATRICK
     HSIEH, an individual; ALICE HSIEH, an
8    individual; VICTOR J. CHIOU, an individual;
     ALICE CHIOU, an individual; BILL WU, an
9
     individual; MAGGIE HO, an individual; SIMON
10   LIU, an individual; WANG CHANG, an
     individual; VINCENT CHANG, an individual;
11   LUCY HONG LIU, an individual; SARAH
     LOLO, an individual; XIAOYING CHEN JI, an
12   individual; KITTY CHAO, an individual;
     ROGER WU, an individual; KARRI WU, an
13
     individual; YANG ZHAO, an individual; and
14   DOES 1-100;

15                     Defendants.
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     ORIGINAL COMPLAINT – CLASS ACTION                                   2
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1    I.       INTRODUCTION TO THE CASE
2             1.    Market America, Inc. (“MarketAmerica”) and their cohorts represented to plaintiffs
3    Jinhua Zou, Yu Xia Lu, Chuanjie Yang, Ollie Lan, and Liu Liu (collectively, the “Plaintiffs”) that
4    Market America provides a business opportunity “unlike any seen in history before” and that
5    Plaintiffs could formulate their growth for future financial success through MarketAmerica.
6    Plaintiffs and hundreds of thousands, have joined MarketAmerica and have become distributors.
7             2.    MarketAmerica touts that by following a “two-year blueprint,” any person can
8    formulate, grow, and shape his or her growth for financial success. According to MarketAmerica,
9    the only way to fail under MarketAmerica’s business model is to quit. Meanwhile,
10   MarketAmerica and its confederate conspirators now assert a business valuation of over $7.3
11   billion that they have made off the backs of millions of people in their pyramid.
12            3.    MarketAmerica targets Chinese-American immigrants who do not have regularly
13   available legal channels to vindicate their legal rights, and in hope of selling “wonder” products to
14   their relatives in China.
15            4.    This sort of targeted scam has also been characterized as “affinity fraud”—a
16   recurring form of fraud that preys upon members of identifiable groups, such as religious or ethnic
17   communities. The scams exploit the trust and friendship that exist in groups of people who have
18   something in common.
19            5.    Plaintiffs did not make money as promised. As with the case of hundreds of
20   thousands of MarketAmerica distributors before and after them, the Plaintiffs failed. Plaintiffs and
21   those similarly situated, failed even though they were committed and put in the time and effort.
22   They failed because they were doomed from the start by a MarketAmerica marketing plan that
23   systematically rewards recruiting Distributors over the sale of products.
24            6.    Over 90% of MarketAmerica Distributors average net losses. No persons, except
25   Individual Defendants and secretly placed individuals into the “representative” tiers of the
26   company, makes any money.
27            7.    Defendants run an illegal pyramid scheme. Defendants take money in return for the
28   right to sell products that they do not even manufacture, and reward for recruiting other

     ORIGINAL COMPLAINT – CLASS ACTION                                                                    3
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1    participants into the pyramid. Defendants use the allure and sourcing of name brand products to
2    prop up the pyramid scheme.
3           8.      Defendants operate under a multilevel marketing business model. In a legitimate
4    MLM, distributors earn money primarily through direct sales of products to customers.
5    Secondarily, distributors also have an incentive to recruit new distributors, as they are promised a
6    percentage of their recruits’ sales. Such recruits are known as a distributor’s “downline,” and the
7    distributor is known as a recruit’s “upline.”
8           9.      An illegal “pyramid scheme,” like that perpetrated by Defendants, takes advantage
9    of the public by pretending to engage in legitimate multilevel marketing while actually siphoning
10   off money from new recruits to pay the people at the top level. The Federal Trade Commission
11   explains that, with a pyramid scheme, “the money you make is based primarily on the number of
12   distributors you recruit and your sales to them, rather than on your sales to people outside the plan
13   who intend to use the products.”
14          10.     Similar to a chain letter, a pyramid scheme disappoints those at the bottom who can
15   find no recruits. Because it must eventually collapse, a pyramid scheme is inherently fraudulent.
16          11.     The FTC notes that “[i]f the money you make is based on your sales to the public,
17   it may be a legitimate multilevel marketing plan. If the money you make is based on the number of
18   people you recruit and your sales to them, it’s not. It’s a pyramid scheme. Pyramid schemes are
19   illegal, and the vast majority of participants lose money.”
20          12.     Dr. Peter J. Vander Nat, a Senior FTC Economist and an expert witness for the
21   agency in pyramid cases, defined a pyramid scheme as follows: If an organization sells goods or
22   services to the public and the participants in the organization obtain monetary benefits from (1)
23   recruiting new members and (2) selling the organization’s goods and services to consumers, the
24   organization is deemed a pyramid scheme if the participants obtain their monetary benefits
25   primarily from recruitment rather than the sale of goods and services to consumers.
26          13.     That some retail sales may occur does not mitigate the unlawful nature of a
27   pyramid scheme.
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     ORIGINAL COMPLAINT – CLASS ACTION                                                                      4
      Case 1:19-cv-00954-UA-JEP Document 1 Filed 03/08/19 Page 4 of 56
1           14.        Another indication of a pyramid scheme, according to the FTC, is that “[t]he
2    recruitment pitch says you’ll be living in the lap of luxury. It fails to tell you most people in a
3    pyramid scheme lose money.”
4           15.        Further, the products offered as part of a pyramid scheme typically “are overpriced,
5    have questionable merits, or are downright unsafe to use.”
6           16.        The FTC asks three questions to determine whether an MLM is an unlawful
7    pyramid scheme:
8           • Do distributors sell more product to other distributors than they do to the legitimate retail
9           consumers?
10          • Does the amount of money distributors make depend more on recruiting (that is, getting
11          new distributors to pay for the right to participate in the plan)?
12          • Does the money made depend mostly on selling to other distributors than on sales of the
13          product to the public?
14          17.        With regard to the business model at issue in this case, the answer to each of these
15   questions is “yes.”
16          18.        Accordingly, Plaintiffs, for themselves, all others similarly situated, and the general
17   public, allege:
18   II.    TYPE OF ACTION
19          19.        Plaintiffs sue for themselves and for all persons who were MarketAmerica
20   “participants” as defined in the applicable statute, from 2010 until the present under California’s
21   Endless Chain Scheme Law (California’s Penal Code § 327 and California Civil Code § 1689.2),
22   California’s Unfair Competition Law (Business and Professions Code §17200 et seq.), False
23   Advertising Law (Business and Professions Code §17500), Seller’s Adjusted Marketing Practices
24   ACT (SAMP Act), and Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. § 1961 et
25   seq. against all defendants for the operation and promotion of an inherently fraudulent endless
26   chain scheme.
27          20.        Plaintiffs Yang, Lan, and Liu have already brought a class action in the Central
28   District of California, Case No. 2:17-cv-04012-GW-JEM (Hon. George Wu) against some of the

     ORIGINAL COMPLAINT – CLASS ACTION                                                                        5
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1    Defendants in this action. Plaintiffs Zou and Lu did not participate in the Central District Action.
2    The Central District Action has been stayed, unstayed, and then stayed, and there have been
3    questions as to the propriety of Jurisdiction of the dispute in the Central District of California
4    because the Defendants have operations and physical offices only in the Northern District of
5    California and North Carolina. Judge Wu referred a determination as to whether the disputes
6    between Plaintiffs Yang, Lan, and Liu were arbitrable, to the District of North Carolina, Case No.
7    1:17-cv-00897-JEP, and has not ruled on whether provisional relief may be sought in the Central
8    District. Judge Peake has suggested that the North Carolina District Court may further refer the
9    question of arbitrability as for Yang, Lan and Liu only, to AAA, though Judge Peake has not made
10   a determination on pre-arbitral provisional relief, and where that particular relief should proceed.
11   Plaintiffs Yang, Lan and Liu only seek provisional relief at this time through this Complaint, but
12   reserve the right to amend.
13   III.   PARTIES
14          21.     Plaintiff Jinhua Zou (“Zou”), is and at all relevant times, has resided in California.

15          22.     Plaintiff Yu Xia Lu (“Lu”), is and at all relevant times, has resided in California.

16          23.     Plaintiff Chuanjie Yang (“Yang”), is and at all relevant times, has resided in the

17   County of Los Angeles.

18          24.     Plaintiff Ollie Lan, aka Ruoning Lan (“Lan”), is and at all relevant times, has

19   resided in the County of Los Angeles.

20          25.     Plaintiff Liu Liu (“Liu”) is and at all relevant times, has resided in the County of

21   Los Angeles.

22          26.     Market America, Inc. is a North Carolina Corporation (“MarketAmerica”) that

23   operates and manages the pyramid scheme in California, and its principle place of business is in

24   Monterey, California.

25          27.     MarketAmerica targets its unfranchise business to all major cities, including San

26   Francisco and Los Angeles, through which numerous persons identify themselves as independent

27   “unfranchise owners,” who reside in San Francisco and Los Angeles. Several mouse meeting and

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     ORIGINAL COMPLAINT – CLASS ACTION                                                                       6
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1    recruiting sessions take place in San Francisco, and the events giving rise to this dispute occur
2    throughout all major counties of California, including San Francisco County.
3           28.     Market America Worldwide, Inc. is a North Carolina Corporation (“Marketing”)
4    that also operates and manages the pyramid scheme in California and its place of business is in
5    Monterey, California.
6           29.     Defendant Shop MA, Inc. (“Shop”) is a Corporation, registered in Florida, that
7    operates and does business in California, and is based out of Monterey and has its principal place
8    of business in Moneterey, California.
9           30.     Defendant James Howard Ridinger aka JR Ridinger (“JR”) is a natural person. JR
10   is the founder of MarketAmerica and Marketing, Chairman, and CEO. He is not being sued in
11   that capacity, but rather because he is a conspirator, at or near the top of the pyramid operated and
12   promoted by the Defendants, and he actively participates in, promotes, and profits from
13   MarketAmerica’s pyramid scheme.
14          31.     Defendant Loren Ridinger (“Loren”) has been characterized as the senior executive
15   Vice President for MarketAmerica. She is not being sued in that capacity, but rather because she
16   is a conspirator, at or near the top of the pyramid operated and promoted by the Defendants, and
17   she actively participates in, promotes, and profits from MarketAmerica’s pyramid scheme.
18          32.     Defendant Marc Ashley (“Ashley”) is the brother of Loren and has been
19   characterized as the President and Chief Operating Office of MarketAmerica. He is not being
20   sued in that capacity, but rather because he is a conspirator, at or near the top of the pyramid
21   operated and promoted by the Defendants, and he actively participates in, promotes, and profits
22   from MarketAmerica’s pyramid scheme.
23          33.     Defendant Marty Weissman (“Weissman”) has been characterized as the Executive
24   Vice President of MarketAmerica. He is not being sued in that capacity, but rather because he is
25   a conspirator, at or near the top of the pyramid operated and promoted by the Defendants, and he
26   actively participates in, promotes, and profits from MarketAmerica’s pyramid scheme.
27          34.     Defendant Dennis Franks (“Franks”) asserts the title of Executive Vice President of
28   MarketAmerica. He is not being sued in that capacity, but rather because he is a conspirator, at or

     ORIGINAL COMPLAINT – CLASS ACTION                                                                    7
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1    near the top of the pyramid operated and promoted by the Defendants, and he actively participates
2    in, promotes, and profits from MarketAmerica’s pyramid scheme.
3           35.     Defendant Joe Bolyard (“Bolyard”) asserts the title of Executive Vice President of
4    International Development of MarketAmerica. He is not being sued in that capacity, but rather
5    because he is a conspirator, at or near the top of the pyramid operated and promoted by the
6    Defendants, and he actively participates in, promotes, and profits from MarketAmerica’s pyramid
7    scheme.
8           36.     Anthony Akers (“Akers”) asserts a title of Vice President of Market America and
9    Shop.com. He is not being sued in that capacity, but rather because he is a conspirator, at or near
10   the top of the pyramid operated and promoted by the Defendants, and he actively participates in,
11   promotes, and profits from MarketAmerica’s pyramid scheme.
12          37.     Eddy Alberty (“Alberty”) asserts a title of VP of Strategic Partnerships of Market
13   America and Shop.com. He is not being sued in that capacity, but rather because he is a
14   conspirator, at or near the top of the pyramid operated and promoted by the Defendants, and he
15   actively participates in, promotes, and profits from MarketAmerica’s pyramid scheme.
16          38.     Steve Ashley (“S. Ashley”) asserts the title of President of Shop.com. He is not
17   being sued in that capacity, but rather because he is a conspirator, at or near the top of the pyramid
18   operated and promoted by the Defendants, and he actively participates in, promotes, and profits
19   from MarketAmerica’s pyramid scheme.
20          39.     Michael Brady (“Brady”) asserts the title of Chief Information Office. He is not
21   being sued in that capacity, but rather because he is a conspirator, at or near the top of the pyramid
22   operated and promoted by the Defendants, and he actively participates in, promotes, and profits
23   from MarketAmerica’s pyramid scheme.
24          40.     Kevin Buckman (“Buckman”) asserts the title of Special Projects Consultant. He
25   is not being sued in that capacity, but rather because he is a conspirator, at or near the top of the
26   pyramid operated and promoted by the Defendants, and he actively participates in, promotes, and
27   profits from MarketAmerica’s pyramid scheme.
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     ORIGINAL COMPLAINT – CLASS ACTION                                                                       8
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1           41.     Peter Gold (“Gold”) asserts the title of Chief Digital Marketing Officer. He is not
2    being sued in that capacity, but rather because he is a conspirator, at or near the top of the pyramid
3    operated and promoted by the Defendants, and he actively participates in, promotes, and profits
4    from MarketAmerica’s pyramid scheme.
5           42.     Vince Hunt (“Hunt”) asserts the title of Special Advisor to Shop.Com. He is not
6    being sued in that capacity, but rather because he is a conspirator, at or near the top of the pyramid
7    operated and promoted by the Defendants, and he actively participates in, promotes, and profits
8    from MarketAmerica’s pyramid scheme.
9           43.     Chris Peddycord (“Peddycord”) asserts the title of VP of Business Integration to
10   Shop.Com. He is not being sued in that capacity, but rather because he is a conspirator, at or near
11   the top of the pyramid operated and promoted by the Defendants, and he actively participates in,
12   promotes, and profits from MarketAmerica’s pyramid scheme.
13          44.     Brandi Qinn (“Qinn”) asserts the title of VP of Operations to Shop.Com. She is not
14   being sued in that capacity, but rather because she is a conspirator, at or near the top of the
15   pyramid operated and promoted by the Defendants, and she actively participates in, promotes, and
16   profits from MarketAmerica’s pyramid scheme.
17          45.     Sam Ritchie (“Ritchie”) asserts the title of VP of Research and Development to
18   Shop.Com. He is not being sued in that capacity, but rather because he is a conspirator, at or near
19   the top of the pyramid operated and promoted by the Defendants, and he actively participates in,
20   promotes, and profits from MarketAmerica’s pyramid scheme.
21          46.     Eugene Wallace (“Wallace”) asserts the title of Chief Technology Officer to
22   Shop.Com. He is not being sued in that capacity, but rather because he is a conspirator, at or near
23   the top of the pyramid operated and promoted by the Defendants, and he actively participates in,
24   promotes, and profits from MarketAmerica’s pyramid scheme.
25          47.     Jim Winkler (“Winkler”) asserts the title of VP of Sales to Shop.Com. He is not
26   being sued in that capacity, but rather because he is a conspirator, at or near the top of the pyramid
27   operated and promoted by the Defendants, and he actively participates in, promotes, and profits
28   from MarketAmerica’s pyramid scheme.

     ORIGINAL COMPLAINT – CLASS ACTION                                                                     9
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1           48.    Defendant Elizabeth Weber (“Weber”) is near the top of the pyramid operated and
2    promoted by the Defendants, and she actively participates in, promotes, and profits from
3    MarketAmerica’s pyramid scheme.
4           49.    Defendant Joanne Hsi (“Hsi”) is near the top of the pyramid operated and promoted
5    by the Defendants, and she actively participates in, promotes, and profits from MarketAmerica’s
6    pyramid scheme.
7           50.    Benjamin Ginder, Jr. (“Ginder”) is near the top of the pyramid operated and
8    promoted by the Defendants, and she actively participates in, promotes, and profits from
9    MarketAmerica’s pyramid scheme.
10          51.    Dolly Kuo (“Kuo”) is at or near the top of the pyramid operated and promoted by
11   the Defendants, and she actively participates in, promotes, and profits from MarketAmerica’s
12   pyramid scheme.
13          52.    Ming-Chu Kuo (“M. Kuo”) is at or near the top of the pyramid operated and
14   promoted by the Defendants, and she actively participates in, promotes, and profits from
15   MarketAmerica’s pyramid scheme.
16          53.    Frank J. Keefer (“Keefer”) is at or near the top of the pyramid operated and
17   promoted by the Defendants, and he actively participates in, promotes, and profits from
18   MarketAmerica’s pyramid scheme.
19          54.    June Yu Shan (“Shan”) is at or near the top of the pyramid operated and promoted
20   by the Defendants, and she actively participates in, promotes, and profits from MarketAmerica’s
21   pyramid scheme.
22          55.    Ace Lee (“A. Lee”) is at or near the top of the pyramid operated and promoted by
23   the Defendants, and he actively participates in, promotes, and profits from MarketAmerica’s
24   pyramid scheme.
25          56.    Stephanie Lee (“S. Lee”) is at or near the top of the pyramid operated and promoted
26   by the Defendants, and she actively participates in, promotes, and profits from MarketAmerica’s
27   pyramid scheme.
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     ORIGINAL COMPLAINT – CLASS ACTION                                                                 10
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1           57.    Min Liu (“M. Liu”) is at or near the top of the pyramid operated and promoted by
2    the Defendants, and she actively participates in, promotes, and profits from MarketAmerica’s
3    pyramid scheme.
4           58.    Patrick Hsieh (“P. Hsieh”) is at or near the top of the pyramid operated and
5    promoted by the Defendants, and she actively participates in, promotes, and profits from
6    MarketAmerica’s pyramid scheme.
7           59.    Alice Hsieh (“A. Hsieh”) is at or near the top of the pyramid operated and
8    promoted by the Defendants, and she actively participates in, promotes, and profits from
9    MarketAmerica’s pyramid scheme.
10          60.    Victor J. Chiou (“V. Chiou”) is at or near the top of the pyramid operated and
11   promoted by the Defendants, and he actively participates in, promotes, and profits from
12   MarketAmerica’s pyramid scheme.
13          61.    Alice Chiou (“A. Chiou”) is at or near the top of the pyramid operated and
14   promoted by the Defendants, and she actively participates in, promotes, and profits from
15   MarketAmerica’s pyramid scheme.
16          62.    Bill Wu (“Wu”) is at or near the top of the pyramid operated and promoted by the
17   Defendants, and he actively participates in, promotes, and profits from MarketAmerica’s pyramid
18   scheme.
19          63.    Maggie Ho (“Ho”) is at or near the top of the pyramid operated and promoted by
20   the Defendants, and he actively participates in, promotes, and profits from MarketAmerica’s
21   pyramid scheme.
22          64.    Simon Liu (“S. Liu”) is at or near the top of the pyramid operated and promoted by
23   the Defendants, and he actively participates in, promotes, and profits from MarketAmerica’s
24   pyramid scheme.
25          65.    Wang Chang (“W. Chang”) is at or near the top of the pyramid operated and
26   promoted by the Defendants, and he actively participates in, promotes, and profits from
27   MarketAmerica’s pyramid scheme, who preaches among other things that “one can retire their
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     ORIGINAL COMPLAINT – CLASS ACTION                                                                 11
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1    parents” and so “they can move to United States through Market America,” and that the Market
2    America opportunity is meant to replace a job.
3           66.    Vincent Chang (“V. Chang”) is at or near the top of the pyramid operated and
4    promoted by the Defendants, and he actively participates in, promotes, and profits from
5    MarketAmerica’s pyramid scheme, who preaches among other things that “one can retire their
6    parents” and so “they can move to United States through Market America,” and that the Market
7    America opportunity is meant to replace a job.
8           67.    Lucy Hong Liu (“LH Liu”) is at or near the top of the pyramid operated and
9    promoted by the Defendants, and she actively participates in, promotes, and profits from
10   MarketAmerica’s pyramid scheme.
11          68.     Sarah Lolo (“Lolo”) is at or near the top of the pyramid operated and promoted by
12   the Defendants, and she actively participates in, promotes, and profits from MarketAmerica’s
13   pyramid scheme.
14          69.    Xiaoying Chen Ji (“Ji”) is at or near the top of the pyramid operated and promoted
15   by the Defendants, and she actively participates in, promotes, and profits from MarketAmerica’s
16   pyramid scheme.
17          70.    Kitty Chao (“K. Chao”) is at or near the top of the pyramid operated and promoted
18   by the Defendants, and she actively participates in, promotes, and profits from MarketAmerica’s
19   pyramid scheme.
20          71.    Roger Wu (“R. Wu”) is at or near the top of the pyramid operated and promoted by
21   the Defendants, and he actively participates in, promotes, and profits from MarketAmerica’s
22   pyramid scheme.
23          72.    Karri Wu (“K. Wu”) is at or near the top of the pyramid operated and promoted by
24   the Defendants, and she actively participates in, promotes, and profits from MarketAmerica’s
25   pyramid scheme.
26          73.    Yang Zhao (“Y. Zhao”) is at or near the top of the pyramid operated and promoted
27   by the Defendants, and he actively participates in, promotes, and profits from MarketAmerica’s
28   pyramid scheme.

     ORIGINAL COMPLAINT – CLASS ACTION                                                                  12
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1            74.     JR, Loren, Ashley, Weissman, Franks, Bolyard, Akers, Alberty, S. Ashley, Brady,
2    Buckman, Gold, Hunt, Peddycord, Qinn, Ritchie, Wallace, Winkler, Weber, Hsi, Ginder, Kuo, M.
3    Kuo, Keefer, Shan, A. Lee, S. Lee, M. Liu, P. Hsieh, A. Hsieh, V. Chiou, A. Chiou, Wu, Ho, S.
4    Liu, W. Chang, V. Chang, LH Liu, Lolo, Ji, K. Chao, R. Wu, Y. Zhao, K. Wu, collectively, are
5    referred to hereinafter, as the “Individual Defendants.”
6            75.     The Individual Defendants, MarketAmerica, Marketing, Shop, and DOES-100 are
7    collectively referred to hereinafter as the “Defendants.”
8    IV.     JURISDICTION AND VENUE
9            76.     Jurisdiction is conferred upon this Court because Defendants do business in this
10   judicial district, they hold themselves out and market to this jurisdiction, and they actually conduct
11   significant transactions in this jurisdiction and participate in this jurisdiction, and specifically in
12   Monterey, California. Under Plaintiffs’ California state law claims, more than 75% of those affected
13   in the class (and perhaps more persons) are residents of the State of California. Supplemental
14   jurisdiction, specific, general jurisdiction exists over the RICO causes of action, because personal
15   jurisdiction exists over at least one of the defendants, and each of the Defendants participated in one
16   RICO scheme.
17           77.     Venue is proper in this Court because a substantial part of the events or omissions
18   giving rise to Plaintiffs’ claims occurred here, a substantial part of the property that is the subject of
19   this action is situated here, and Defendants are subject to personal jurisdiction, in this District.
20           78.     Defendant MarketAmerica is subject to the jurisdiction of this Court.
21   MarketAmerica has been engaged in continuous and systematic business in California and has
22   purposely availed itself of this Court’s jurisdiction. In fact, many of MarketAmerica’s
23   representative business activities originate from Monterey, California.
24           79.     MarketAmerica has committed tortious acts in this State.
25           80.     MarketAmerica, Shop, and Marketing interact with over 10,000 merchants as part
26   of the pyramid scheme that are promoted to consumers, many of whom are in California.
27           81.     Each of the Defendants named herein acted as a co-conspirator, single enterprise,
28   joint venture, co-conspirator, or alter ego of, or for, the other Defendants with respect to the acts,

     ORIGINAL COMPLAINT – CLASS ACTION                                                                        13
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1    omissions, violations, representations, and common course of conduct alleged herein, and ratified
2    said conduct, aided and abetted, or is other liable. Defendants have agreements with each other,
3    and other unnamed Director co-conspirators and have reached agreements to market and promote
4    the MarketAmerica pyramid as alleged herein.
5           82.     Defendants were an integral part of the scheme that participated with
6    MarketAmerica, and made decisions regarding: products, services, marketing strategy,
7    compensation plans (both public and secret), incentives, contests and other matters. In addition,
8    Defendants and unnamed co-conspirators were directly and actively involved in decisions to
9    develop and amend the compensation plans.
10          83.     Plaintiffs are presently unaware of the true identities and capacities of fictitiously
11   named Defendants designated as DOES 1 through 100, but will amend this complaint or any
12   subsequent pleading when their identities and capacities have been ascertained according to proof.
13   On information and belief, each and every DOE defendant is in some manner responsible for the
14   acts and conduct of the other Defendants herein, and each DOE was, and is, responsible for the
15   injuries, damages, and harm incurred by Plaintiffs. Each reference in this complaint to “defendant,”
16   “defendants,” or a specifically named defendant, refers also to all of the named defendants and those
17   unknown parties sued under fictitious names.
18          84.     Plaintiffs are informed and believe, and thereon allege that, at all times relevant
19   hereto, all of the defendants together were members of a single association, with each member
20   exercising control over the operations of the association. Each reference in this complaint to
21   “defendant,” “defendants,” or a specifically named defendant, refers also to the above-referenced
22   unincorporated association as a jural entity and each defendant herein is sued in its additional
23   capacity as an active and participating member thereof. Based upon the allegations set forth in this
24   Complaint, fairness requires the association of defendants to be recognized as a legal entity, as the
25   association has violated Plaintiff and Class Members’ legal rights.
26          85.     Plaintiffs are further informed and believes and thereon alleges that each and all of
27   the acts herein alleged as to each defendant was authorized and directed by the remaining
28   defendants, who ratified, adopted, condoned and approved said acts with full knowledge of the

     ORIGINAL COMPLAINT – CLASS ACTION                                                                   14
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1    consequences thereof, and memorialized the authority of the agent in a writing subscribed by the
2    principal.
3           86.     Plaintiffs are informed and believe and thereon allege that each of the defendants
4    herein agreed among each other to commit the unlawful acts (or acts by unlawful means) described
5    in this Complaint.
6           87.     The desired effect of the conspiracy was to defraud and otherwise deprive Plaintiffs
7    and Class Members (as hereinafter defined) of their constitutionally protected rights to property,
8    and of their rights under other laws as set forth herein. Each of the defendants herein committed an
9    act in furtherance of the agreement. Injury was caused to the Plaintiffs and Class Members by the
10   defendants as a consequence.
11   V.     FACTS
12          A.      MarketAmerica Operates A Pyramid Scheme
13          88.     MarketAmerica was founded in 1992 by a former Amway Distributor, and co-
14   defendant, JR Ridinger. MarketAmerica has very little costs, nor production requirements because
15   it does not directly manufacture its own products. Instead, MarketAmerica offers products from
16   third party manufacturers, but requires distributors of MarketAmerica to pay monthly fees just for
17   the opportunity to sell these third-party products, the touchstone of a pyramid scheme.
18          89.     To sign up as a Market America distributor, an enrollee must pay a start-up fee of
19   $399.00 (which was even greater prior to 2013), and further, a distributor must commit to paying a
20   monthly fee of $129.00, per month beginning upon enrollment. Thus, at all times during the
21   relevant class period, initial enrollment was greater than $500. Further, an enrollee must spend
22   between $130-$300 on products offered on Shop.com, per month to allegedly maintain
23   qualifications as an enrollee. MarketAmerica also requires distributors to attend trainings, events
24   and seminars, which cost between $20 and $200. The average victim of the Defendants loses
25   several thousand dollars.
26          90.     MarketAmerica pays to an infinite level deep with the downline. In other words,
27   for every dollar earned by a distributor for start up-fees, all those lines above the person on the
28   pyramid receive revenues from the person being enrolled.

     ORIGINAL COMPLAINT – CLASS ACTION                                                                     15
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1           91.     Rewards paid in the form of cash bonuses, where primarily earned for recruitment,
2    as opposed to merchandise sales to consumers, constitute a fraudulent business model. See F.T.C.
3    v. BurnLounge, Inc., 753 F.3d 878 (9th Cir. 2014).
4           B.      How MarketAmerica Perpetuates Its Pyramid Scheme
5           92.     To “build a serious business, it is based on bringing two likeminded people-one on
6    your right side, one on your left side.” See https://www.youtube.com/watch?v=TMSQnqK4l8A,
7    (last visited May 27, 2017) (at 6:40).
8           93.     As each lower level is recruited, points and commissions are rewarded to an infinite
9    level deep, i.e. to each level of the pyramid scheme. According to MarketAmerica, “people lead
10   to more people.” (See Figure No. 1).
11                                   [Complaint continued on next page]
12
13   FIGURE NO. 1

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            94.     Every dollar made by MarketAmerica (i.e. throughout the entire pyramid) accrues
22
     to the benefit of those at the top of the pyramid.
23
            95.     Two commission checks are to be paid – money from BV (Business volume)
24
     Products that MarketAmerica affixes its logo to) and IBV (Incentive Business Volume) (non-
25
     MarketAmerica Products).
26
27
28

     ORIGINAL COMPLAINT – CLASS ACTION                                                                   16
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1           96.     After a distributor cycles (creates one full cycle of sales above as reflected in
2    Figure No. 1), a distributor can “re-enter” the pyramid as a downline in both pyramids. Recyling
3    is depicted in the black squares below as follows:
4    FIGURE NO. 2
5
6
7
8
9
10          97.     The purpose of “re-entry” is a feeble attempt to detract from the appearance of a

11   perpetual pyramid scheme and to squeeze out those in the lower levels of the pyramid from

12   bonuses, points, and commissions. Re-entries in MarketAmerica are represented by those in

13   MarketAmerica to be “unlimited.”

14          98.     Finally, if one becomes a “Master Unfranchise Owner” he or she can earn even

15   more money (see Figure No. 3 below). In short, enrollees are asked to pay a large upfront fee for

16   the speculative chance to earn another source of income. Those on the top of the pyramid will

17   give up some of the ill-gotten profits if a Distributor signs up three times. According to

18   MarketAmerica, through this process, a distributor can earn “$561,600.” Through MarketAmerica,

19   a distributor can have at most, four front lines. In actuality, no true MarketAmerica distributor

20   earns $561,000, only those at the helm of the scheme, and more than 90% all enrollees earn

21   nothing.
     FIGURE NO. 3
22
23
24
25
26
27
28

     ORIGINAL COMPLAINT – CLASS ACTION                                                                   17
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1           99.     MarketAmerica claims to its victims, “don’t overthink it. This is a proven system.”
2    According to representations and advertisements, MarketAmerica has taken “all the risk away.”
3    FIGURE NO. 4
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9           100.    MarketAmerica represents that this business opportunity can be “willed or

10   transferable” to an distributor’s children, you “get to dream big,” and get to “make a difference in

11   the world” by being a part of this business. The Defendants also represent that one can retire their

12   parents through this opportunity.

13
            C.      Members Receive Benefits Only Through The Performance Of Those
14                  Downline To Them
15          101.    As MarketAmerica’s sale presentation states, income is made only from the recruit
16   of additional sales representatives because Market America has to pay wholesale prices to those
17   companies that actually manufacture its products.
18          102.    Some of the products offered by MarketAmerica are unhealthy and toxic, and after
19   Plaintiff Lan’s mother took MarketAmerica’s products, she suffered health issues.
20   MarketAmerica has been sued under Proposition 65 in a class action because certain of its
21   products allegedly contained lead. Environmental Research Center v. Market America, Inc., 30-
22   2013-00650458 (Orange Ct. Sup. Ct, May 20, 2012).
23          D.      Market America Encourages Inventory Loading
24          103.    MarketAmerica encourages Distributors to recruit and to inventory load through its
25   wholesale commissions.
26          104.    The prospect of wholesale commissions encourages recruiting: the more recruits a
27   Distributor has, the more potential there is for a wholesale commission. The prospect of wholesale
28   commissions also encourages Distributors to purchase product they do not otherwise need or want

     ORIGINAL COMPLAINT – CLASS ACTION                                                                      18
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1    to increase their points so that they can be eligible for greater discounts and thus, greater
2    wholesale commissions.
3           105.     There are very few retail purchases made at Distributors’ sites. These are
4    MarketAmerica webpages that allow retail customers to order directly from MarketAmerica and
5    attribute the purchase to a particular distributor (much like a customer informing the cashier at a
6    department store which clerk helped him find the sweater he is purchasing). The customer does
7    not receive a discount for purchasing through a particular Distributor’s Microsite, so the customer
8    has little incentive to order through the Microsite. As for the Distributors, they will want to make
9    retail sales directly to retail customers so they can offload product that they have already
10   purchased from MarketAmerica. In addition, for reasons described herein, few profitable retail
11   sales are made at all, via the sites or otherwise. Thus, retail sales through a Distributor’s site is not
12   a reliable source of points.
13          106.     The only reliable source of points for the majority of Distributors is their own
14   purchases. Purchases for normal consumption will be insufficient to meet the thresholds required
15   to qualify for bigger discounts. Thus, MarketAmerica’s wholesale commissions financially
16   incentivize the Distributors to inventory load to make purchases; not for the purpose of fulfilling
17   retail demand, and not to satisfy their normal desire for nutritional supplements and health
18   products, but rather so that they can increase their points, qualify for greater discounts, and qualify
19   for wholesale commissions. Moreover, as discussed above, every form of compensation paid by
20   MarketAmerica incentivizes recruiting - bringing more Distributors into the scheme. In fact,
21   Wholesale Commissions, Overrides, and Leadership Bonuses are payable only if a Distributor has
22   recruited new Distributors. Thus, just like a classic pyramid scheme, the MarketAmerica scheme
23   requires participants to put money into the scheme and rewards participants who bring in new
24   participants.
25          E.       Distributors Are Unable To Sell MarketAmerica Products For A Profit
26          107.     Distributors are unable to consistently sell MarketAmerica products for a profit for
27   many reasons. First, the products are overpriced. Interchangeable products are available online or
28

     ORIGINAL COMPLAINT – CLASS ACTION                                                                       19
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1    in brick-and-mortar stores for amounts far less than MarketAmerica’s suggested retail price, and
2    even lower than its wholesale prices.
3           108.    Second, MarketAmerica’s products themselves are available online for the
4    wholesale price or less. That these products are sold at or below the Advisor price makes it
5    difficult for Distributors to sell the products for a profit. MarketAmerica may have taken action to
6    reduce resales, but the fact remains that MarketAmerica products are available below the discount
7    prices. Moreover, many of these sales are likely made by current or former Distributors
8    desperately trying to offload excess product at whatever price they can get, which further supports
9    the propositions that Distributors Inventory Load and that the MarketAmerica products are
10   overpriced.
11          109.    Third, MarketAmerica prohibits Distributors from selling the products in the only
12   forum for a where Distributors could reasonably expect to sell enough product to make a
13   meaningful profit: the internet. Some examples of these prohibited websites include, but are not
14   limited to: eBay, Amazon or Craigslist. In addition, MarketAmerica forbids its Distributors from
15   selling MarketAmerica products at almost all brick-and-mortar establishments. MarketAmerica
16   seeks to limit the Distributors to one-on-one situations in private locations (such as the
17   Distributor’s or a friend’s home), but achieving significant, profitable retail sales by this method is
18   extremely difficult.
19          110.    Plaintiffs do not contend that Distributors make no retail sales at all. But Plaintiffs
20   do allege that relatively little of the revenues received by Distributors—including both money paid
21   them by MarketAmerica and proceeds from retail sales—comes from retail sales, and the vast
22   majority comes from Distributors’ payments to MarketAmerica. Thus, the Distributors are
23   primarily feeding off each other.
24          111.    MarketAmerica also makes false and/or inadequate income disclosures in that in
25   many instances, it does not disclose income of those who are distributors, or provides statements
26   of income that are false, and/or misleading, that affirmatively represent a profitable business
27   opportunity, when there is no profit to be made, and nearly all participants in fact, lose money.
28

     ORIGINAL COMPLAINT – CLASS ACTION                                                                        20
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1            112.    Because MarketAmerica pays the executives at the top of the pyramid exorbitant
2    incomes and because little non-Distributor money comes into the scheme to pay Distributors, the
3    Distributors at the bottom of the pyramid must lose money. These losses are borne out by
4    MarketAmerica’s own financial disclosures and the experiences of the Plaintiffs and multiple other
5    Distributors.
6            F.      The Individual Defendants and Market America Promote the Pyramid Scheme
7            113.    The Individual Defendants are persons at the top of MarketAmerica’s pyramid. All
8    of the Individual Defendants were distribtors or executives. They are in the top 1% of Distributors
9    who make the most lucrative bonuses. They actively participate in the MarketAmerica pyramid
10   scheme, and they profit from the promotion of the scheme and the compensation plan at the expense
11   of the vast majority of Distributors.
12           114.    MarketAmerica and the Individual Defendants promote the pyramid scheme and
13   make misleading claims of financial success, that one can retire their parents, that one can bring their
14   family over from China to gain sustenance through MarketAmerica, and other similar absurd
15   claims..
16           115.    In coordination with MarketAmerica, the Individual Defendants have flooded the
17   internet with promotional materials and videos designed to lure in new Distributors. MarketAmerica
18   and Individual Defendants promote the scheme as a lawful program that virtually guarantees
19   financial success. MarketAmerica and the Individual Defendants promote Market America as a
20   reliable source of significant income.
21           116.    To sell the financial-success promise, MarketAmerica and the Individual Defendants
22   flaunt the wealth of the highest-ranked Distributors and those few insiders at the top of the pyramid,
23   as examples of the riches that await new participants, if only they will work hard enough (i.e.,
24   tirelessly recruit new Distributors).
25           117.    All of the Individual Defendants have produced videos and made statements via the
26   internet knowingly promoting MarketAmerica’s pyramid scheme and touting the financial rewards
27   supposedly available to participants. Each of these statements furthered the pyramid scheme by
28

     ORIGINAL COMPLAINT – CLASS ACTION                                                                        21
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1    encouraging persons to become Distributors and by encouraging Distributors to remain Distributors
2    and pursue the MarketAmerica business opportunity.
3           118.    The similarity of the statements made by the Individual Defendants indicates a
4    collusive effort to promote the MarketAmerica scheme. The following paragraphs set forth just a
5    small subset of publicly broadcast statements made by the Individual Defendants to promote the
6    MarketAmerica “business opportunity.”
7           119.    Defendant JR Ridinger (“JR”). Defendant JR is one of the most prolific
8    MarketAmerica promoters. Scores of videos on YouTube and other public internet platforms
9    feature JR promoting, touting, and explaining the MarketAmerica business opportunity.
10
11   FIG. NO. 5
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18          120.    As seen above, JR tries to make his introduction to victims appear like a rock and roll

19   concert with visual spectacles including pyrotechnics, laser lights, rock music, and jumbo screens.

20   https://www.youtube.com/watch?v=pZn5xjKpDns.

21          121.    JR represents: “[h]ow do we build a business, we have fun and we hiss a lot.” “We

22   hiss in a lot of pots.” “For those that understand no explanation is necessary.” “We can sell

23   anything.”

24          122.    Further, JR represents “[i]t follows wherever people connect to maximize to

25   infinity.” “One person doesn’t do it, it creates swiss cheese below. In reality if one person doesn’t

26   do it, you have to get three in under them, and three in under them.” “It always maximizes profit.”

27   “We are executive directors in one year. Some Chinese have done it faster. [Except unlike them]

28   we buy tickets.”

     ORIGINAL COMPLAINT – CLASS ACTION                                                                       22
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1    FIG NO. 6
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8    FIG. NO. 7

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14          123.    Defendant Loren Ridinger (“Loren”). Loren represents: “[w]e build people with
15   teams.” “When you buy, you can buy from yourself.” “If you can’t buy from yourself…[convert
16   spending to earning] why are you here?” Loren further represents that distributors, “[n]eed to buy a
17   ticket here [for the next event MarketAmerica is having].” “If you don’t buy it here, you are not
18   coming [to the next event].” Loren demands that distributors “build from event to event,” “build an
19   empire, people power.” Among other things, Loren commands to her victims that through the
20   MarketAmerica business opportunity, one can “[b]e a lion for a day rather than being a slave for
21   thousands of years.” “We build people power,” and later she claims MarketAmerica requires an -
22   “empire of people.”
23   FIGURE NO. 8
24
25
26
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     ORIGINAL COMPLAINT – CLASS ACTION                                                                      23
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1           124.    Defendant Marc Ashley. Defendant Marc Ashley (“Ashley”) is the COO of
2    MarketAmerica and regularly promotes the recruiting scheme of MarketAmerica at events by
3    discussing the recruitment scam of MarketAmerica
4    FIGURE NO. 9
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9    FIGURE NO. 10

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11
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15   FIGURE NO. 11
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            125.    Carl Eklund, an executive of MarketAmerica confirms in various seminar materials
23
     that the MarketAmeria business has “not changed” because of the shopping annuity, the shopping
24
     annuity just makes the business easier.
25
            126.    Defendants accepted, ratified, endorsed, and/or made the misrepresentations
26
     omissions of fact, and concealments (and or such similar statements) contained in ¶¶ 91-125 to the
27
     Plaintiffs from when they joined, and such representations (or similar representations) have
28
     continued as in the general public, to the present date.

     ORIGINAL COMPLAINT – CLASS ACTION                                                                    24
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1    G.     Plaintiffs Are Victims Of The Pyramid Scheme
2           127.    Yang became a “participant” in 2010 through 2016 by making purchases and
3    buying the starter pack. Plaintiff paid the monthly membership for years, attended multiple
4    seminars, and in total paid MarketAmerica approximately $35,000 towards this opportunity. Yang
5    also expended significant amounts towards travel, lodging, and accommodations. Plaintiff Yang
6    was deceived by MarketAmerica’s misleading opportunity believing, the opportunity was a
7    legitimate way to earn money (even though that representation by Market and the Individual
8    Defendants was false), and Plaintiff Yang did in fact lose money as a result of Defendants’ unfair,
9    unlawful, and fraudulent business practice. The endless chain account to which Yang is a party,
10   has not been closed by market America at any time, and his claim is based on among other
11   writings, an open account stated for monies owed and spent as reflected in the books and records,
12   as reflected in invoices, invoices for yearly membership, bills, tickets stubs, and receipts. Through
13   this action, Plaintiff Yang is seeking equitable/ injunctive relief in that he seeks rescission of any
14   documents forming his participation in the endless chain which include invoices and receipts,
15   payment on accounts stated, and the return of such amounts he was paid by virtue of being a
16   participant in the Market America pyramid scheme. Market America continues its same business
17   practices to this day, and is likely to continue its business practices into the future. Market
18   America continues to market its business practices and distributorship opportunity to all 50 states.
19   Yang did not sign the distributorship agreement in the form referred to in Figure No. 12 and did
20   not enroll with Market America electronically, but instead signed the form presented by his upline.
21          128.    Ollie Lan aka Ruoning Lan, is and at all relevant times, resides in the County of
22   Los Angeles. Lan became a “participant” in December of 2015 through present. Lan paid
23   monthly distributor fees for three months. Plaintiff Lan was deceived by MarketAmerica’s
24   misleading opportunity believing the opportunity was a legitimate way to earn money (even
25   though that representation was false), and Plaintiff Lan did in fact lose money as a result of
26   Defendants’ unfair, unlawful, and fraudulent business practice. Plaintiff Lan lost approximately
27   $7,000 as a result of Defendants’ pyramid scheme. The endless chain account to which Lan is a
28   party, has not been closed by market America at any time, and his claim is based on among other

     ORIGINAL COMPLAINT – CLASS ACTION                                                                        25
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1    writings, an open account stated for monies owed and spent as reflected in the books and records,
2    as reflected in invoices, invoices for yearly membership, bills, tickets stubs, and receipts. Through
3    this action, Plaintiff Lan is seeking equitable/ injunctive relief in that he seeks rescission of any
4    documents forming his participation in the endless chain which include invoices and receipts,
5    payment on accounts stated, and the return of such amounts he was paid by virtue of being a
6    participant in the Market America pyramid scheme. Market America continues its same business
7    practices to this day, and is likely to continue its business practices into the future. Market
8    America continues to market its business practices and distributorship opportunity to all 50 states.
9           129.    Plaintiff Liu Liu, is and at all relevant times, resides in the County of Los Angeles.
10   Liu became a participant in 2016 through present. Plaintiff Liu was deceived by MarketAmerica’s
11   misleading opportunity believing the opportunity was a legitimate way to earn money (even
12   though that representation was false), and Plaintiff Liu did in fact lose money as a result of
13   Defendants’ unfair, unlawful, and fraudulent business practice. Plaintiff Liu lost approximately
14   $10,000 as a result of Defendants’ pyramid scheme. The endless chain account to which Lan is a
15   party, has not been closed by market America at any time, and his claim is based on among other
16   writings, an open account stated for monies owed and spent as reflected in the books and records,
17   as reflected in invoices, invoices for yearly membership, bills, tickets stubs, and receipts. Through
18   this action, Plaintiff Liu is seeking equitable/ injunctive relief in that he seeks rescission of any
19   documents forming his participation in the endless chain which include invoices and receipts,
20   payment on accounts stated, and the return of such amounts he was paid by virtue of being a
21   participant in the Market America pyramid scheme. Market America continues its same business
22   practices to this day, and is likely to continue its business practices into the future. Market
23   America continues to market its business practices and distributorship opportunity to all 50 states.
24          130.    Plaintiffs Lan and Liu did not make any retail sales whatsoever.
25          131.    Plaintiff Jinhua Zou became a participant and joined the business.
26          132.    Plaintiff Yu Xia Lu became a participant and joined the business.
27          H.      Independent Distributor Application And Agreement
28

     ORIGINAL COMPLAINT – CLASS ACTION                                                                       26
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1           133.    At some times during Market America’s history, it has proposed a document labeled,
2    “Independent Distributor Application and Agreement” (the “Agreement”).
3    FIGURE NO. 12
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20          134.    The signature line of the Agreement, only requires a MarketAmerica distributor to

21   “AGREE TO THE TERMS SET FORTH IN THIS AGREEMENT.” (emphasis added). None of

22   the “terms” in the Agreement provide for arbitration. Nowhere on the form, does Market America

23   ask some class members to assent or sign that they agree to any conditions. No term of the

24   Agreement provides for arbitration, so no class member is bound by arbitration.

25          135.    At the bottom of the form and below the signature box (See Figure No. 12 above),

26   next to a box labeled “INTERNAL USE ONLY,” the Agreement states “SEE REVERSE SIDE

27   FOR TERMS AND CONDITIONS OF THIS AGREEMENT.” (emphasis added). Because of the

28   design of this form, the intended arbitration agreement is completely lacking in mutual assent.


     ORIGINAL COMPLAINT – CLASS ACTION                                                                  27
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1           136.    The “conditions” on the reverse side include an arbitration provision, which provides
2    as follows:
         29. Arbitration. Any controversy or claim arising out of or relating to this Agreement, or the
3        breach thereof, shall ultimately be settled by arbitration administered by the American
4        Arbitration Association in accordance with its Commercial Arbitration Rules and judgment on
         the award rendered by the arbitrators may be entered in a court of competent jurisdiction. You
5        understand that this arbitration provision means you are giving up the right to have any dispute
         you have regarding this Agreement heard by a jury and determined in a court of law. The
6        arbitration shall be heard by one arbitrator, and it shall take place in Greensboro, North
         Carolina. Either party may seek emergency or provisional relief in the General Court of
7
         Justice, Guilford County, North Carolina, prior to invoking the arbitration remedy.
8
     (Agreement, ¶29).
9
        30. Entire Agreement. This Agreement and Part 2 of the Career Manual constitute the entire
10      agreement between you and Market America.
11
     (Agreement, ¶30) (emphasis added).
12
13          137.    The arbitration provision is unenforceable because no class members were required

14   to assent to the arbitration conditions by the terms of the Agreement itself, and the signature line

15   block confirms only the “terms” of the Agreement need be assented to. In the alternative, this form

16   is highly misleading.

17          138.    The arbitration policy also includes the following provision:

18
        Distributor Grievances. You agree to submit any complaint, grievance, or claim against
19      another Distributor or MA in accordance with the Grievance Procedure set forth in the Career
        Manual. You agree not to seek arbitration, take legal action except in accordance with the
20      Grievance Procedure, or contact any regulatory agency regarding your MA Distributorship
        until all steps of the Grievance Procedure have been completed. If you breach this covenant,
21
        you may be liable to MA for damages and legal costs, including reasonable attorney’s fees.
22
23   (Agreement, ¶20).

24          139.    Buried in the Career Manual, MA commands: “The Distributor agrees to submit

25   any complaint, grievance or claim against a Distributor or the company to the Appeals Board and

26   Dispute Resolution Board for settlement prior to contacting any regulatory agency or taking any

27   legal action.” (Career Manual pp. 42).

28

     ORIGINAL COMPLAINT – CLASS ACTION                                                                      28
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1           140.    The complaint must cite “policies and procedures affected,” and provide all
2    evidence that may not be available to a distributor. (Id.) Any such complaint will routinely result
3    in a denial by MA because the MA Appeals Board is comprised of officers of MA (and their
4    cronies) who have a financial interest in denying claims. If a distributor is unsatisfied with the
5    “written response” from the MA Appeals Board, the Dispute Resolution Board (DRB) is the “final
6    appeal process regarding company rulings or decisions concerning policies, procedures, rules and
7    regulations. The DRB only reviews facts and enforces company policies and procedures. The
8    DRB does not set policy, change policy, or make exceptions to rules and regulations. It functions
9    to interpret policies, procedures, rules and regulations where no precedent exists or where unique
10   mitigating circumstances are encountered.” Career Manual, Ch. 14, § 8(B).
11          141.    To invoke the DRB, a distributor must complete and submit a DRB Submission
12   form, all documents, all evidence, and a $50.00 filing fee which is non-refundable. If the
13   Distributor disagrees with the decision of the DRB, the Distributor’s only recourse is to request
14   arbitration within 90 days of the date of the DRB decision letter. (Id.) (emphasis added).
15   Distributors are further commanded not to take any action through the Career Manual: “Note: You
16   should always consult with your upline leadership before submitting an appeal to make sure: (1)
17   that the situation merits an appeal, and (2) that the situation cannot be resolved by MA without
18   having to submit an appeal.”
19          142.    The Career Manual also unconscionably expands on MA’s right to amend the DA
20   as follows: “[t]he Company expressly reserves the right to alter or amend Distributor’s cost of
21   products, policies, procedures, rules, regulations…Upon notification by mailing … such
22   amendments are automatically incorporated as part of the Independent Distributor Application and
23   Agreement between the company and the Distributor.” (Career Manual, pp. 51).
24          143.    There is an unconscionable 90-day statute of limitation to bring claims in the
25   Career Manual. (Career Manual, pp. 51-52).
26          144.    The internal reconciliation procedure and two-tiered Kangaroo Court administrative
27   review proceeding are a sham, and undeniably substantively unconscionable because the arbiters
28   are Market America’s officers and its cronies.

     ORIGINAL COMPLAINT – CLASS ACTION                                                                     29
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1            145.    Market America has claimed in the course of this litigation that it is not bound by
2    ¶20 of the DA and the Career Manual, which is made part of the DA by the express terms of the
3    DA itself. Defendants’ position, action, and conduct, constitutes waiver of its right to assert
4    arbitration whatsoever, as it is taking a position in this litigation that terms are not enforceable.
5    Based on the doctrine of waiver, no arbitration can be enforced.
6            146.    In the alternative, the arbitration provision is unconscionable because inter alia, it
7    permits MarketAmerica the unilateral right to modify the conditions of the arbitration policy, the
8    rules of Commercial Arbitration for AAA do not provide for prevailing party fees and class
9    members would have to pay the cost and fees of arbitration despite their entitlement to costs of suit
10   and fees should they be the prevailing party in this action, the pre-litigation requirements of
11   MarketAmerica prior to bringing action are unconscionable, and for other reasons to be asserted to
12   the extent motion practice is initiated.
13           147.    In the alternative, the arbitration provision is unenforceable as a matter of law and as
14   a matter of fact on other grounds.
15           148.    In the alternative, the arbitration provision is unenforceable related to the injunctive
16   relief requested in this Complaint, based on recent California Supreme Court authority.
17           149.    To the extent “[t]he arbitration shall be heard by one arbitrator, and it shall take
18   place in Greensboro, North Carolina” is considered a “forum selection clause”, the forum selection
19   clause should be analyzed under Federal Law, and such clause is unenforceable because
20   independently, and in the alternative, (1) it was the product of fraud and overreaching, (2)
21   Plaintiffs would effectively be deprived of their day in court if this clause was enforced, (3)
22   enforcement of this provision would contravene a strong public policy of the forum in which the
23   suit is brought (particularly in light of the legislative history of the Endless Chain law); (4) this is a
24   franchise under California Law and franchise agreements may not be transferred. For each of
25   these reasons, this provision cannot be enforced to require transfer.
26           150.    Market America Mexico, Market America Hong Kong, Market America Taiwan,
27   Market America United Kingdom, Market America Mexico, Market America Spain, Market
28   America Singapore, Market America Malaysia (through Market America and Shop.com) are also

     ORIGINAL COMPLAINT – CLASS ACTION                                                                          30
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1    engaged in unfair business practices by virtue of money laundering significant sums. Specifically,
2    the Defendants have knowledge that they may not engage in multi-level marketing in China and
3    that it is illegal to do so without restrictions and a license issued by China, but they do so with
4    impunity through Hong Kong and conceal the fact that monies are being received illicitly from
5    China by masking transmissions that are of criminal and civilly culpable nature, through which
6    they use well-resourced Chinese investors and U.S. Law firms operating out of China to facilitate
7    these transactions.
8            151.    Market America Mexico, Market America Hong Kong, Market America Taiwan,
9    Market America United Kingdom, Market America Mexico, Market America Spain, Market
10   America Singapore, Market America Malaysia (through Market America and Shop.com) are also
11   engaged in unfair business practices by virtue of money laundering in that international transfers
12   are made into the United States, and specifically California and North Carolina, with the ultimate
13   purpose and effect of avoiding the payment of customs, taxes, tariffs and duties. Incoming
14   transfers are mostly not reported through this money laundering operations so as to avoid the
15   payment of taxes, customs, duties, and tariffs and to further enrich the money-laundering and
16   racketeering scheme.
17           152.    To this effect, Market America Mexico, Market America Hong Kong, Market
18   America Taiwan, Market America United Kingdom, Market America Mexico, Market America
19   Spain, Market America Singapore, Market America Malaysia (through Market America and
20   Shop.com) are involved in trade-based laundering, in that they under value invoices of distributors
21   to disguise the movement of money. Market America further engages in establishing a complex
22   network of shell companies and trusts to disguise ownership of the money.
23           153.    Market America also engages in the special placement of persons above the
24   Distributor base as sweet heart deals, which results in a dilution of commission and compensation
25   for the field and specifically the Plaintiffs and the Class.
26           154.    The Defendants also are engaged in unfair business practices because they
27   encourage the violation of the terms of use and applicable advertising laws by encouraging brand
28

     ORIGINAL COMPLAINT – CLASS ACTION                                                                     31
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1    partners to post on wechat, facebook, Instagram, twitter, snapchat by promoting illegal pyramid
2    conduct, making advertisements without proper disclosures.
3    VI.    CLASS ACTION ALLEGATIONS
4           154.    Plaintiffs seek to represent a nationwide class defined as follows:
5           155.    Plaintiffs bring this action as a class action under Federal Rule of Civil Procedure
6    23.
7           156.    Plaintiffs seek to certify a class pursuant to Fed. R. Civ. Proc. 23(a), 23(b),
8    23(c)(4), and 23(c)(5), if necessary.
9           157.    Plaintiffs seek relief on behalf of themselves and the following class: persons who
10   paid start-up fees, monthly fees, annual fees, seminar ticket fees, any other fees imposed by Market
11   America, and/or purchased products from MarketAmerica between March 9, 2010, to the present
12   date, who lost money from their participation in the MarketAmerica scheme.
13          158.    Subject to confirmation, clarification and/or modification based on discovery to be
14   conducted in this action, Plaintiffs also seek to represent a sub-class in California, defined as
15   follows: persons residing in California who paid start-up fees, monthly fees, annual fees, seminar
16   ticket fees, any other fees imposed by Market America, and/or purchased products from
17   MarketAmerica between March 9, 2010, to the present date, who lost money from their participation
18   in the MarketAmerica scheme.
19          159.    Subject to confirmation, clarification and/or modification based on discovery to be
20   conducted in this action, Plaintiffs also seeks to represent a sub-class of all worldwide participants
21   of MarketAmerica, defined as follows: persons residing anywhere in the World who paid start-up
22   fees, monthly fees, annual fees, seminar ticket fees, any other fees imposed by Market America,
23   and/or purchased products from MarketAmerica between March 9, 2010, to the present date, who
24   lost money from their participation in the MarketAmerica scheme.
25          160.    Pursuant to the previous paragraph of this complaint, the damage to any person
26   living anywhere else other than the United States involved a domestic injury to business or
27   property because all contracts of independent business owners were negotiated, executed, and
28   stored on a server in the United States owned by MarketAmerica, and are available on the

     ORIGINAL COMPLAINT – CLASS ACTION                                                                      32
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1    worldwide web, involved a significant connection to domestic commerce in that the labeling,
2    products, and other parts of the manufacturing and sales and marketing process were conducted
3    from the United States, and for other reasons to be provided according to proof, and after the
4    opportunity for discovery.
5           161.     Excluded from the class are the Defendants, family members, this Court, and any
6    “Director” of MarketAmerica.
7           162.     Plaintiffs seek to pursue a private attorney general action for public injunctive
8    relief for themselves and all members of the class, and they satisfy the standing and class action
9    requirements.
10          163.     While the exact number of members in the Class and Subclasses are unknown to
11   Plaintiffs at this time, and can only be determined by appropriate discovery, membership in the
12   class and subclasses is ascertainable based upon the records maintained by Defendant. It is
13   estimated that the members of the Class are greater than 250,000, nationwide.
14          164.     Therefore, the Class and Subclasses are so numerous that individual joinder of all
15   Class and Subclass members is impracticable.
16          165.     There are questions of law and/or fact common to the class and subclasses,
17   including but not limited to: (a) Whether the arbitration policy is enforceable; (b) Whether
18   MarketAmerica is operating an endless chain; (c) Whether Distributors paid money to
19   MarketAmerica for (1) the right to sell a product and (2) the right to receive, in return for
20   recruiting others, rewards which were unrelated to the sale of the product to retail consumers; (d)
21   Whether MarketAmerica’s rules apply to Section 327 claims; (e) If the MarketAmerica rules do
22   apply, are MarketAmerica’s rules effective; (f) If the MarketAmerica rules do apply, and
23   MarketAmerica’s rules are effective, did MarketAmerica enforce those rules; (g) Whether
24   MarketAmerica or the Individual Defendants omitted to inform the Plaintiffs and the plaintiff class
25   that they were entering into an illegal scheme where an overwhelming number of participants lose
26   money; (h) Whether MarketAmerica’s statements of compensation during the Class Period were
27   deceptive and misleading; (i) Whether MarketAmerica’s conduct constitutes an unlawful, unfair
28   and/or deceptive trade practice under California state law; (j) Whether MarketAmerica’s conduct

     ORIGINAL COMPLAINT – CLASS ACTION                                                                     33
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1    constitutes unfair competition under California state law; and (k) Whether MarketAmerica’s
2    conduct constitutes false advertising under California state law.
3              166.   These and other questions of law and/or fact are common to the class and
4    subclasses and predominate over any question affecting only individual class members.
5              167.   Plaintiffs’ claims are typical of the claims of the class and subclasses in that
6    Plaintiffs were Distributors for Defendant MarketAmerica and lost money because of the illegal
7    scheme.
8              168.   Plaintiffs will fairly and adequately represent the interests of the class and
9    subclasses. Plaintiffs’ claims are typical of those of the class and subclasses. Plaintiffs’ interests
10   are fully aligned with those of the class and subclasses. And Plaintiffs have retained counsel
11   experienced and skilled in complex class action litigation.
12             169.   Class action treatment is superior to the alternatives for the fair and efficient
13   adjudication of the controversy alleged, because such treatment will allow many similarly-situated
14   persons to pursue their common claims in a single forum simultaneously, efficiently and without
15   unnecessary duplication of evidence, effort, and expense that numerous individual actions would
16   engender.
17             170.   Plaintiffs know of no difficulty likely to be encountered in the management that
18   would preclude its maintenance as a class action.
19   VI.       CLASS ACTION COUNTS
20                                                   COUNT I
21         ENDLESS CHAIN SCHEME; California Penal Code § 327 and Section 1689.2 of the
22                                            California Civil Code
23         (Plaintiffs on behalf of themselves and the Class, Against All Defendants including DOES 1
24                                                  through 100)
25             171.   Plaintiffs reallege all allegations as if fully set forth herein, and incorporate
26   previous allegations by reference.
27             172.   Section 1689.2 of the California Civil Code provides: “[a] participant in an endless
28   chain scheme, as defined in Section 327 of the Penal Code, may rescind the contract upon which

     ORIGINAL COMPLAINT – CLASS ACTION                                                                        34
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1    the scheme is based, and may recover all consideration paid pursuant to the scheme, less any
2    amounts paid or consideration provided to the participant pursuant to the scheme.”
3             173.   Each of the Defendants are culpable under Section 327 of the Penal Code because
4    they have operated and/or contrived and/or prepared and/or set up and/or proposed an endless
5    chain.
6             174.   The MarketAmerica operations constitute a scheme for the disposal or distribution
7    of property whereby class members pay a valuable consideration for the chance to receive
8    compensation for introducing one or more additional persons into participation in the scheme or
9    for the chance to receive compensation when a person introduced by the participant introduces a
10   new participant.
11            175.   Independently, the MarketAmerica operations constitute an endless chain because
12   members pay an initial fee and then sign up for indefinite monthly automatic deductions to
13   maintain their memberships, only to have a membership terminated if he fails to pay.
14            176.   Independently, the MarketAmerica operations constitute an endless chain because
15   defendants tell victims they earn commissions by recruiting other people to buy memberships and
16   the members, were in turn, instructed to recruit more members.
17            177.   Independently, the MarketAmerica operations constitute an endless chain because
18   Defendants’ commissions, income, lottery gifts like vehicles, and free products were based on a
19   current member’s sales of memberships to new members whether any of these members actually
20   used their MarketAmerica membership to sell any products.
21            178.   Plaintiffs and the class have suffered an injury in fact and have lost money or
22   property because of MarketAmerica and the Individual Defendants’ operation of an endless chain,
23   business acts, omissions, and practices.
24            179.   Plaintiffs and the class are entitled to: (a) rescind the contracts/agreements upon
25   which the scheme is based and recover all consideration paid under the scheme, less any amounts
26   paid or consideration provided to the participant under the scheme; (b) restitution, compensatory
27   and consequential damages (where not inconsistent with their request for rescission or restitution);
28   and (c) attorneys’ fees, costs, pre and post-judgment interest.

     ORIGINAL COMPLAINT – CLASS ACTION                                                                     35
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1                                                    COUNT II
2           Unfair and Deceptive Practices Claims Under Cal. Bus, & Prof. Code § 17200, et seq.
3       (Plaintiffs on behalf of themselves and the Class Against All Defendants including DOES 1
4                                                    through 100)
5             180.    Plaintiffs reallege all allegations as if fully set forth herein, and incorporate
6    previous allegations by reference.
7             181.    All claims brought under this Third Cause of action that refer or relate to the
8    unlawful, fraudulent or unfair “endless chain” of the Defendants are brought on behalf of Plaintiffs
9    and the Class.
10            182.    All claims brought under this Third Cause of Action that refer or relate to the
11   unlawful, fraudulent or unfair the statements, the touted MarketAmerica “business opportunity”
12   are brought on behalf of Plaintiffs and the Class.
13            183.    MarketAmerica has engaged in constant and continuous unlawful, fraudulent and
14   unfair business acts or practices, and unfair, deceptive, false and misleading advertising within the
15   meaning of the California Business and Professions Code § 17200, et seq. The acts or practices
16   alleged constitute a pattern of behavior, pursued as a wrongful business practice that has
17   victimized and continues to victimize thousands of consumers for which Plaintiffs’ seek to enjoin
18   from further operation. The MarketAmerica Sales and Marketing Plan Is Unlawful.
19            184.    Under California Business and Professions Code § 17200, an “unlawful” business
20   practice is one that violates California law.
21            185.    MarketAmerica’s business practices are unlawful under § 17200 because they
22   constitute an illegal “endless chain” as defined under, and prohibited by, California Penal Code §
23   327.
24            186.    MarketAmerica utilizes its illegal “endless chain” with the intent, directly or
25   indirectly, to dispose of property in MarketAmerica’s products and to convince Distributors to
26   recruit others to do the same.
27            187.    MarketAmerica’s business practices are unlawful pursuant to §17200 because they
28   violate §17500 et seq., as alleged in the Third Cause of Action.

     ORIGINAL COMPLAINT – CLASS ACTION                                                                    36
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1            188.    Under California Business and Professions Code § 17200, a “fraudulent” business
2    practice is one that is likely to deceive the public.
3            189.    MarketAmerica’s business practices are fraudulent in two separately actionable
4    ways: (1) MarketAmerica’s business constitutes an illegal and deceptive “endless chain;” (2) the
5    touted, yet non-existent, MarketAmerica “business opportunity” is for everyone, including but not
6    limited to MarketAmerica’s massive advertising campaign and the misleading statements of
7    compensation.
8            190.    First, as detailed herein, Defendants promoted participation in the MarketAmerica
9    endless chain, which has a compensation program based on payments to participants for the
10   purchase of product by participants, not the retail sale of products or services.
11           191.    MarketAmerica has made numerous misleading representations about the business
12   opportunity of MarketAmerica and the income that a recruit or a distributor can realize by
13   becoming a distributor and participating in the scheme.
14           192.    MarketAmerica knew, or should have known, that the representations about the
15   business opportunity of MarketAmerica were misleading in nature.
16           193.    As a direct result of MarketAmerica’ fraudulent representations and omissions
17   regarding the MarketAmerica endless chain described herein, MarketAmerica wrongly acquired
18   money from Plaintiff and the members of the classes.
19           194.    Second, MarketAmerica touted, in numerous different ways as part of a massive
20   advertising campaign, a “business opportunity,” which MarketAmerica also repeatedly and in
21   many ways represented, among other things, as being “for everyone” and allowing “full time” or
22   “part time” opportunities.
23           195.    The massive advertising campaign included among other things, the website,
24   emails, websites, presentations by MarketAmerica, training, word of mouth among Distributors,
25   and events.
26           196.    As part of this campaign and a further inducement to potential Distributors,
27   MarketAmerica made and disseminated statements of compensation that further misled the public,
28   among other things: (1) by using cryptic and technical terms known to MarketAmerica but not to

     ORIGINAL COMPLAINT – CLASS ACTION                                                                   37
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1    the general public or to those exploring the claimed “business opportunity,” (2) by highlighting the
2    successful persons, i.e., those that received compensation from MarketAmerica, and the average
3    gross compensation paid by MarketAmerica to those winners, (3) by failing to disclose the actual
4    number of successful persons as compared to the number of Distributors who received no
5    compensation from MarketAmerica (i.e., the “losers”), and (4) by downplaying and omitting the
6    risks and costs involved in starting an MarketAmerica Distributorship and succeeding in such a
7    Distributorship.
8           197.    In reality, the touted “business opportunity” was only for a select few, and those
9    that were recruited specially. And these numbers did not include expenses incurred by distributors
10   in the operation or promotion of their businesses, meaning there were likely more net losers who
11   made no profit at all.
12          198.    MarketAmerica knew, or should have known, that the selective information
13   presented to distributors in the compensation and its massive adverting campaign during that time
14   frame touting its purported “business opportunity” was likely to mislead the public and did in fact
15   mislead the public into believing that there was a legitimate “business opportunity” in which
16   Distributors, or a large portion of them, could make money in either a full or part time capacity. In
17   fact, however, there was no such “business opportunity,” except for a very select few.
18          199.    As a direct result of MarketAmerica’ fraudulent representations and omissions
19   regarding the Statement and the massive adverting campaign during that time frame and thereafter
20   touting MarketAmerica’s purported “business opportunity” described herein, MarketAmerica
21   wrongly acquired money from Plaintiffs and the members of the classes.
22          200.    The named Plaintiffs have standing to bring these § 17200 claims under the
23   fraudulent prong, and can demonstrate actual reliance on the alleged fraudulent conduct.
24          201.    For instance, Plaintiffs have been in receipt of misleading and false financial
25   statements and marketing materials/seminar papers, which promoted the MarketAmerica’ scheme
26   and claimed “business opportunity” and contained material false representations regarding the
27   success Distributors could achieve through MarketAmerica by purchasing products and recruiting
28   others to do the same.

     ORIGINAL COMPLAINT – CLASS ACTION                                                                     38
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1           202.    There were other representations made to Distributors as part of the massive
2    advertising campaign regarding the claimed “business opportunity,” on which Plaintiff or some of
3    the Class Members, reasonably believed the representations they could succeed in the “business
4    opportunity,” did not return the refund, purchased MarketAmerica products and did not
5    immediately return them, signed up as MarketAmerica Distributors, and attempted to and recruited
6    others to do the same. These other representations include, but are not limited to the following: (a)
7    emails from MarketAmerica that promoted MarketAmerica and contained material false
8    representations regarding the success that a distributor could achieve through MarketAmerica by
9    purchasing products and recruiting others to do the same; (b) websites, such as www.shop.com
10   and marketamerica.com, which promoted the fraudulent scheme through videos of Individual
11   Defendants containing material false representations regarding the “business opportunity”
12   available to Distributors and the wealth that a distributor could get by agreeing to become an
13   MarketAmerica distributor; (c) Presentations by MarketAmerica Distributors which contained
14   material false representations regarding the “business opportunity” and the success that a
15   distributor could get through MarketAmerica by purchasing products and recruiting others to do
16   the same; (d) Presentations by MarketAmerica, including the presentations described in this
17   complaint, which contained material false representations regarding the “business opportunity”
18   and the success that a distributor could get through MarketAmerica by purchasing products and
19   recruiting others to do the same; (e) Training and events where MarketAmerica Distributors made
20   material false representations regarding the “business opportunity” and the success that a
21   distributor could get through MarketAmerica by purchasing products and recruiting others to do
22   the same.
23          203.    To the extent proof of reliance is required of Plaintiffs, MarketAmerica and the
24   Individual Defendants knew that Plaintiffs and the class would reasonably rely on their
25   representations and omissions, which would cause the Plaintiffs and the class joining the
26   fraudulent endless chain scheme and purchasing the products, and Plaintiffs did in fact reasonably
27   rely upon such representations and omissions.
28

     ORIGINAL COMPLAINT – CLASS ACTION                                                                  39
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1           204.    Indeed, had Plaintiffs and the class known that MarketAmerica and its Individual
2    Defendants were promoting an endless chain, they would not have become MarketAmerica
3    Distributors in the first place and, if learned after becoming a distributor, they would not have
4    purchased MarketAmerica products thereafter.
5           205.    Had Plaintiffs and the class known that MarketAmerica was promoting a “business
6    opportunity” that did not exist except for a select few, they would not have become
7    MarketAmerica Distributors in the first place and, if learned after becoming a distributor, they
8    would not have purchased MarketAmerica products thereafter.
9           206.    Defendants accepted, ratified, endorsed, and/or made the misrepresentations
10   omissions of fact, and concealments (and or such similar statements) contained in ¶¶ 91-125 to the
11   Plaintiffs from when they joined, and such representations (or similar representations) have
12   continued as in the general public, to the present date.
13          207.    Finally, the fraudulent acts, representations and omissions described herein were
14   material not only to Plaintiffs and the class (as described in this complaint), but also to reasonable
15   persons.
16          208.    Under California Business and Professions Code § 17200, a business practice is
17   “unfair” if it violates established public policy or if it is immoral, unethical, oppressive or
18   unscrupulous and causes injury which outweighs its benefits.
19          209.    For the reasons set forth herein and above, MarketAmerica’s promotion and
20   operation of an unlawful and fraudulent endless chain, and its fraudulent representations and
21   omissions regarding its purported “business opportunity,” are also unethical, oppressive, and
22   unscrupulous in that MarketAmerica is and has been duping Plaintiffs and the class out of billions,
23   or at least hundreds of millions, of dollars.
24          210.    MarketAmerica’s actions have few, if any, benefits. Thus, the injury caused to
25   Plaintiffs and the class easily and dramatically outweigh the benefits, if any.
26          211.    Defendants should be made to disgorge all ill-gotten gains and return to Plaintiff
27   and the class all wrongfully taken amounts.
28

     ORIGINAL COMPLAINT – CLASS ACTION                                                                        40
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1           212.    Finally, Defendants’ unlawful, fraudulent and unfair acts and omissions will not be
2    completely and finally stopped without orders of an injunctive nature. Under California Business
3    and Professions Code section 17203, Plaintiffs and the class seek a provisional judicial order of an
4    equitable nature against all Defendants, including, but not limited to, an order declaring such
5    practices as complained of to be unlawful, fraudulent and unfair, and enjoining them from further
6    undertaking any of the unlawful, fraudulent and unfair acts or omissions described herein.
7                                                 COUNT III
8             False Advertising - California Business and Professions Code § 17500, et seq.
9       (Plaintiffs on behalf of themselves and the Class Against All Defendants including DOES 1
10                                                through 100)
11          213.    Plaintiffs reallege all allegations as if fully set forth herein, and incorporate
12   previous allegations by reference.
13          214.    All claims brought under this Fourth Claim for Relief that refer or relate to the
14   false, untrue, fraudulent or misleading endless chain of Defendants are brought on behalf of
15   Plaintiffs and the Class.
16          215.    All claims brought under this Fourth Cause of Action that refer or relate to the
17   false, untrue, fraudulent or misleading statements of income are brought on behalf of Plaintiffs.
18          216.    All claims brought under this Fourth Claim for Relief that refer or relate to the
19   false, untrue, fraudulent or misleading statements of income are brought on behalf of Plaintiffs and
20   the Class.
21          217.    Defendants’ business acts, false advertisements and materially misleading
22   omissions constitute false advertising, in violation of the California Business and Professions
23   Code § 17500, et seq.
24          218.    Defendants engaged in false, unfair and misleading business practices, consisting
25   of false advertising and materially misleading omissions regarding the purported “business
26   opportunity,” likely to deceive the public and include, but are not limited to, the items set forth
27   above. MarketAmerica knew, or should have known, that the representations about the business
28   opportunity of MarketAmerica were misleading in nature.

     ORIGINAL COMPLAINT – CLASS ACTION                                                                     41
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1           219.    Because of Defendants’ untrue and/or misleading representations, Defendants
2    wrongfully acquired money from Plaintiff and the class members to which they were not entitled.
3    The Court should order Defendants to disgorge, for the benefit of Plaintiff and all other
4    MarketAmerica Distributors in the class who signed an agreement with MarketAmerica governed
5    by California law their profits and compensation and/or make restitution to Plaintiff and the Class.
6           220.    Under California Business and Professions Code Section 17535, Plaintiffs and the
7    class seek a judicial order directing Defendants to cease and desist all false advertising related to
8    the Defendants’ illegal endless chain scheme, and such other injunctive relief as the Court finds
9    just and appropriate.
10          221.    Because of Defendants’ untrue and/or misleading representations, Defendants
11   wrongfully acquired money from Plaintiff and the class members to which they were not entitled.
12   The Court should order Defendants to disgorge, for the benefit of Plaintiff and all other
13   MarketAmerica Distributors in the class who signed a Distributor Agreement with MarketAmerica
14   their profits and compensation and/or make restitution to Plaintiff and the class.
15          222.    Under California Business and Professions Code Section 17535, Plaintiff and the
16   class seek a provisional order directing Defendants to cease and desist from all false advertising
17   related to the Defendants’ illegal scheme, and such other injunctive relief as the Court finds just
18   and appropriate. Provisional relief may permissible be brought in this District because it is the
19   Defendants’ principal place of business and west coast hub, even though they will claim they have
20   more employees in North Carolina.
21                                                 COUNT IV
22                                        (RICO 18 U.S.C. § 1962(a))
23      (Plaintiffs on behalf of themselves and the Class Against All Defendants including DOES 1
24                                                through 100)
25          223.    Plaintiffs reallege all allegations as if fully set forth herein, and incorporate
26   previous allegations by reference.
27          224.    18 U.S.C. § 1964(c) (the PLSRA) does not apply to preclude the RICO claims in
28   this case, for at least the following reasons: (a) Plaintiffs are not suing on any claim that arise,

     ORIGINAL COMPLAINT – CLASS ACTION                                                                       42
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1    relate to, or is based on any “security” and in fact, Plaintiffs will seek a preliminary determination
2    and provisional determination prior to trial on the RICO claim, that the Terms are not a security,
3    but instead a felonious and illegal document issued out of Monterey, CA, subject to rescission that
4    will lose any character it has upon adjudication as an enforceable instrument; (b) there are no
5    actionable securities claims because the distributorship is not offered on any exchange, is not
6    registered, but instead, is part of fraudulent misrepresentations concerning what a person can earn,
7    not what instrument would yield (the typical scenario of a security); (c) the claims at issue in this
8    case are not actionable as “fraud in the purchase or sale of securities” because a security claim is
9    only actionable in Federal Court and Respondents have requested that this matter proceed in
10   arbitration; (d) the efforts in the distributorships are made by each of these Plaintiffs were
11   significant, thus not permitting the relationship to be characterized as a security; (c) RICO claims
12   against all other Defendants other than MarketAmerica are not actionable as “fraud in the purchase
13   or sale of securities” because no distributorship was entered into by MarketAmerica with any
14   other party other than MarketAmerica.
15          225.    MarketAmerica, the Individual Defendants, and those in conspiracy, willfully and
16   intentionally violated and continue to violate RICO and California law/California RICO with the
17   goal of obtaining money, directly and indirectly, through a pattern of racketeering activities in
18   violation of the mail and wire fraud statutes, 18 U.S.C. §§ 1341 and 1343, 18 U.S.C. § 1962(a),
19   and California Penal Code § 327.
20          226.    Each of the Defendants are engaged in activities of federal interstate and foreign
21   commerce and are entities capable of holding a legal or beneficial interest in property. All
22   Defendants are “persons,” as that term is defined by 18 U.S.C. § 1961(3).
23          227.    The Defendants (with the Individual Defendants) together make up the
24   “MarketAmerica Enterprise” as an association of entities and individuals associated in fact to
25   operate an illegal pyramid scheme. The MarketAmerica Enterprise is not a legal entity within the
26   meaning of “enterprise” as defined in 18 U.S.C. § 1961(4). Many of the Defendants have been
27   members of the MarketAmerica Enterprise from at least 1992, and continuing until the present.
28   MarketAmerica and the Individual Defendants are separate entities from the MarketAmerica

     ORIGINAL COMPLAINT – CLASS ACTION                                                                        43
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1    Enterprise and play separate and distinct roles in the operation of the MarketAmerica Enterprise.
2               a. MarketAmerica is creator, architect, and beneficiary of the MarketAmerica
3                   Pyramid. Through interstate wire and mails, it coordinates the MarketAmerica
4                   Enterprise, a worldwide scheme. It also pays and awards the commissions, bonuses,
5                   and other incentives to the Defendants and others through online.
6               b. All members of the pyramid scheme (whether located in the U.S. or abroad) were
7                   signed up electronically in the United States.
8               c. MarketAmerica employs the other Defendants to coordinate operations of the
9                   MarketAmerica Pyramid in the countries in which MarketAmerica operates,
10                  including determining and coordinating points, bonuses, and other incentives.
11              d. MarketAmerica employs the other Defendants as its operational arm of the
12                  MarketAmerica Enterprise to conduct racketeering activities in the U.S.
13              e. MarketAmerica employs the remainder of the Defendants to induce new recruits
14                  into the MarketAmerica Pyramid, to induce Distributors to purchase
15                  MarketAmerica’ product, and to induce Distributors to recruit additional
16                  Distributors into the MarketAmerica Pyramid. The Remaining Defendants also
17                  have an agreement with MarketAmerica mandating that MarketAmerica will not
18                  reform its fraudulent markting plan without their consent.
19          228.    From at least April 2009 and continuing until the present, within the County of Los
20   Angeles, and elsewhere, MarketAmerica in association with the other defendants, did knowingly,
21   willfully and unlawfully conduct and participate, directly and indirectly, in the conduct of the
22   affairs of the MarketAmerica Enterprise through a pattern of racketeering activity.
23          229.    From at least April 2009 and continuing until the present, MarketAmerica with
24   each other and at different times the remaining defendants, executed a per se scheme to defraud
25   through a pattern of racketeering made up of distinct acts of mail and wire fraud under 18 U.S.C.
26   §§ 1341 and 1343. The MarketAmerica Enterprise engaged in and affected interstate and foreign
27   trade. The MarketAmerica Enterprise transacts business through the instrumentalities of interstate
28   commerce such as telephones, facsimile machines, the internet, email, wires, bank transfers, online

     ORIGINAL COMPLAINT – CLASS ACTION                                                                    44
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1    payments, and the United States mail and interstate commercial carrier to communicate in
2    furtherance of the activities of the MarketAmerica Enterprise.
3           230.    The MarketAmerica Enterprise advertises, markets, and sells products and services
4    throughout the United States. The operation of the enterprise continued over several years,
5    including activities in every state, and has affected and damaged, and continues to affect and
6    damage, commercial activity.
7           231.    To further the goals of the MarketAmerica Enterprise, which were to (1) earn
8    money through fraudulent means, (2) entice individuals to become MarketAmerica Distributors,
9    (3) entice individuals to purchase products from MarketAmerica, (4) entice individuals to recruit
10   others to become MarketAmerica Distributors and profit off those recruits’ purchases of
11   MarketAmerica’ products, (5) reap large profits for themselves based on false representations,
12   MarketAmerica and the remaining defendants engaged in various forms of illegal activity,
13   including (a) mail fraud, (b) wire fraud, and (c) conspiracy.
14          232.    The pattern of racketeering activity alleged is distinct from the MarketAmerica
15   Enterprise. Each act of racketeering activity is distinct from the MarketAmerica Enterprise in that
16   each is a separate offense committed by an entity or individual while the MarketAmerica
17   Enterprise is an association of entities and individuals. The MarketAmerica Enterprise has an
18   ongoing structure and/or organization supported by personnel and/or associates with continuing
19   functions or duties.
20          233.    The racketeering acts set out above and below, and others, all had the same pattern
21   and similar purpose of defrauding Plaintiff and the class for the benefit of the MarketAmerica
22   Enterprise and its members. Each racketeering act was related, had a similar purpose, involved the
23   same or similar participants and methods of commission and had similar results affecting Plaintiff
24   and the class. The racketeering acts of mail and wire fraud were also related to each other in that
25   they were part of the MarketAmerica Enterprises’ goal to fraudulently induce Plaintiff and the
26   Class to join the illegal scheme, purchase products, and recruit others to join the scheme.
27          234.    MarketAmerica and other Defendants’ wrongful conduct has been and remains part
28   of MarketAmerica Enterprises’ ongoing way of doing business and constitutes a continuing threat

     ORIGINAL COMPLAINT – CLASS ACTION                                                                     45
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1    to the property of Plaintiff and the class. Without the repeated acts of mail and wire fraud, the
2    MarketAmerica Enterprise’s fraudulent scheme would not have succeeded.
3           235.    Revenue gained from the pattern of racketeering activity, which constitutes a
4    significant portion of the total income of MarketAmerica and the Individual Defendants, was
5    reinvested in the operations of the MarketAmerica Enterprise for the following purposes: (a) to
6    expand the operations of the MarketAmerica Enterprise through additional false and misleading
7    advertising and promotional materials aimed at recruiting new Distributors; (b) to facilitate the
8    execution of the illegal scheme; and (c) to convince current Distributors to recruit new
9    Distributors, and purchase MarketAmerica’s products.
10          236.    Plaintiffs and the class were injured by the reinvestment of the racketeering income
11   into the MarketAmerica Enterprise because they invested billions of dollars of their own money
12   through their purchasing of products, promotional materials, and MarketAmerica products, all of
13   which were packaged and shipped at inflated charges.
14          237.    In connection with promoting and executing their illegal scheme, members of the
15   MarketAmerica’s Enterprise knowingly and recklessly placed and caused to be placed in the
16   United States mail or by interstate commercial carrier, or took or received therefrom, matters or
17   things to be sent to or delivered by the United States mail or by interstate commercial carrier
18   comprising, among other things product, invoices, letters, promotional materials, brochures,
19   products and checks to Plaintiff and the class and received communications between and among
20   themselves through the United States mail, in all fifty states and the District of Columbia. It was
21   reasonably foreseeable that these mailings or receipts would take place in furtherance of the
22   fraudulent scheme.
23          238.    In connection with promoting and executing their illegal scheme, members of the
24   MarketAmerica’s Enterprise engaged in wire fraud, in violation of 18 U.S.C. § 1343, by, among
25   other things, knowingly and recklessly transmitting or causing to be transmitted with wire
26   communications, in interstate and foreign trade, materials promoting the illegal MarketAmerica
27   Pyramid on internet web sites, radio, satellite radio, television, email, facsimile, telephone, and
28   text messages, including promotional materials, registration information, product information, and

     ORIGINAL COMPLAINT – CLASS ACTION                                                                     46
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1    invoices. MarketAmerica and Individual Defendants maintain websites on the internet where the
2    enterprise was perpetrated.
3           239.    MarketAmerica’s Distributors can and do buy products and are given inducements
4    to continue working as Distributors within the MarketAmerica Pyramid. MarketAmerica
5    maintains various websites that host promotional videos featuring the Individual Defendants
6    promoting the unlawful scheme and other marketing materials featuring the Individual Defendants
7    promoting the illegal scheme. MarketAmerica sent and received these interstate wire
8    communications to and from all fifty states and the District of Columbia.
9           240.    Each Defendant has promoted the MarketAmerica Pyramid and MarketAmerica
10   Enterprise. Each use of the mail or wire by Defendants and the Individual Defendants done in
11   furtherance of the MarketAmerica pyramid is an act of racketeering.
12          241.    The pattern of racketeering activity through which the affairs of the MarketAmerica
13   Enterprise were conducted and in which MarketAmerica and the Individual Defendants
14   participated consisted of the following:
15                                    Racketeering Act Number One
16          242.    Plaintiffs received, through private commercial interstate carrier and the internet
17   portal maintained by MarketAmerica, certain materials, which promoted the MarketAmerica
18   Enterprise and contained material false representations regarding the success Distributors could
19   achieve through MarketAmerica by purchasing products and recruiting others to do the same,
20   while not including the disclosures required under SAMP, and by inflating figures and
21   representations.
22          243.    Because of their receipt of these materials, Plaintiffs signed up with
23   MarketAmerica, purchased MarketAmerica products, and recruited others to do the same. The
24   materials and package items were sent to Plaintiffs with the purpose and intent of promoting the
25   MarketAmerica Enterprise’s illegal scheme, all in violation of 18 U.S.C. § 1341.
26                                    Racketeering Act Number Two
27          244.    Plaintiffs received, through private commercial interstate carrier, and the internet
28   portal maintained by the Defendants, income disclosures, which promoted the MarketAmerica

     ORIGINAL COMPLAINT – CLASS ACTION                                                                     47
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1    Enterprise and the MarketAmerica pyramid through the sales and marketing plan, and which
2    contained material false representations regarding the success that Distributors could achieve
3    through MarketAmerica by purchasing product packages and recruiting others to do the same.
4           245.    Because of their receipt of the representations, Plaintiffs signed up with
5    MarketAmerica, purchased MarketAmerica product packages, and recruited others to do the same.
6    The income disclosure statements with the purpose and intent of promoting the MarketAmerica
7    Enterprise’s illegal scheme, all in violation of 18 U.S.C. § 1341.
8                                    Racketeering Act Number Three
9           246.    Plaintiffs ordered, through interstate wire transmissions over the internet product
10   packages, which were promoted by the MarketAmerica Enterprise as the means by which
11   Distributors such as Plaintiffs could pay for their position and obtain profits. MarketAmerica
12   hosted these websites. Plaintiff Yang paid MarketAmerica for these products using an electronic
13   transfer of funds. MarketAmerica shipped Plaintiff Yang these products through private
14   commercial interstate carrier. MarketAmerica coordinated through interstate wires on at least a
15   monthly basis following the order the collection and accruing of the rewards associated with those
16   purchases. Because of the promised rewards, points, commissions, and opportunity to advance up
17   the MarketAmerica Pyramid, Plaintiff Yang purchased MarketAmerica Products, paid for those
18   MarketAmerica product packages, and received those products, using instrumentalities of
19   interstate commerce. Defendants’ actions violated 18 U.S.C. §§ 1341 and 1343.
20                                    Racketeering Act Number Four
21          247.    Throughout April of 2009 and continuing through today, MarketAmerica
22   distributed information by interstate wire transmissions over the internet, such as
23   www.MarketAmerica.com and Shop.com. The MarketAmerica websites promoted the fraudulent
24   scheme through videos of Individual Defendants containing material false representations
25   regarding the business opportunity available to Distributors, and the wealth that a distributor could
26   get by agreeing to become an MarketAmerica distributor. Plaintiffs became MarketAmerica
27   distributors and maintained their position as MarketAmerica distributors and continued to order
28   MarketAmerica products and recruit others to do the same. This conduct violated 18 U.S.C. §

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1    1343.
2                                      Racketeering Act Number Five
3            248.     Throughout 2016, the members distributed information by interstate wire
4    transmissions over the internet promoting MarketAmerica as described in this Complaint. These
5    videos promoted the fraudulent pyramid scheme and contained material false representations
6    regarding the wealth that a recruit or MarketAmerica distributor could achieve if that recruit
7    became an MarketAmerica distributor and if a distributor purchased MarketAmerica products.
8    This violated 18 U.S.C. § 1343.
9                                       Racketeering Act Number Six
10           249.     MarketAmerica and many of the Defendants secretly placed promoters, henchmen,
11   friends, and family members above Plaintiffs and Distributros, preventing the lower rungs of the
12   pyramid from being paid anything at all, in attempt to squeeze all potential sources of revenues,
13   commission, and other consideration.
14                                     Racketeering Act Number Seven
15           250.     MarketAmerica and many of the Defendants engaged in wire transfers for illicit
16   purposes, including to do business in countries where such operations were restricted, knowing
17   that the incoming and outgoing wires were for an illegal and criminal purpose, including without
18   limitation, the operation of an unlicensed criminal chain letter and pyramid scheme with Chinese
19   residents without appropriate licensing. Further, MarketAmerica and many of the Defendants
20   processed transactions through investors to avoid incurring taxes, customs, duties and other
21   liabilities rightfully owed to the United States Government, and State of California.
22                                     Racketeering Act Number Eight
23           250.     Defendants secretly placed promoters, henchmen, friends, and family members
24   above Plaintiffs and Distributors, preventing the lower rungs of the pyramid from being paid
25   anything at all, in attempt to squeeze all potential sources of revenues, commission, and other
26   consideration.
27           251.     MarketAmerica, the Defendants, and the Individual Defendants’ representations
28   and omissions were the proximate cause of Plaintiffs, and the class, joining the fraudulent scheme

     ORIGINAL COMPLAINT – CLASS ACTION                                                                    49
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1    and purchasing the products.
2            252.      To the extent proof of reliance is legally required, in engaging in the
3    aforementioned-wire and mail fraud, MarketAmerica, the Defendants, and the Individual
4    Defendants knew that Plaintiffs and the class would reasonably rely on their representations and
5    omissions, which would cause the Plaintiffs and the class joining the fraudulent pyramid scheme
6    and purchasing the products.
7            253.      Market America, Defendants and the Individual Defendants knew that the
8    misrepresentations and omissions described above in promoting and executing the fraudulent
9    scheme were material because they caused Plaintiffs and the class to join and participate in the
10   illegal scheme.
11           254.      Had Plaintiffs and the class known that MarketAmerica and the Individual
12   Defendants were promoting an illegal scheme, they would not have joined the MarketAmerica’
13   pyramid scheme.
14           255.      The Defendants’, MarketAmerica’s and the Individual Defendants’ acts of mail and
15   wire fraud were a proximate cause of the injuries that Yang and the class suffered. Because of
16   MarketAmerica and the Individual Defendants’ pattern of unlawful conduct, Plaintiffs and the
17   class lost hundreds of millions of dollars, if not billions of dollars.
18           256.      Under 18 U.S.C. § 1964, Plaintiffs and the class are entitled to treble their damages,
19   plus interest, punitive damages, costs, and attorney’s fees.
20                                                    COUNT V
21                                           RICO 18 U.S.C. § 1962(c)
22      (Plaintiffs on behalf of themselves and the Class Against All Defendants, including DOES 1
23                                                   through 100)
24           257.      Plaintiffs reallege all allegations as if fully set forth herein, and incorporate all
25   previous allegations by reference.
26           258.      MarketAmerica, the Defendants, and the Individual Defendants are associated with
27   the MarketAmerica Enterprise. In violation of 18 U.S.C. § 1962(c), MarketAmerica, the
28   Defendants, and the Individual Defendants conducted and/or participated in the conduct of the

     ORIGINAL COMPLAINT – CLASS ACTION                                                                         50
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1    affairs of the MarketAmerica Enterprise, including participation in activities in furtherance of the
2    MarketAmerica Defendants’ fraudulent scheme, through the pattern of racketeering activity earlier
3    alleged.
4           259.    As a direct and proximate result of MarketAmerica and the Individual Defendants’
5    violation of 18 U.S.C. § 1962(c), Plaintiffs and the class were induced to, and did, become
6    Distributors in the MarketAmerica Pyramid scheme and purchased hundreds of millions of dollars,
7    if not billions of dollars of the MarketAmerica products and recruited others to do the same.
8    Plaintiffs and the class were injured by MarketAmerica’s and the Individual Defendants’ unlawful
9    conduct. The funds used to buy MarketAmerica products constitute property of Plaintiffs and the
10   class within the meaning of 18 U.S.C. § 1964(c).
11          260.    Under 18 U.S.C. § 1964(c), Plaintiffs and the class are entitled to treble their
12   damages, obtain punitive damages, plus interest, costs and attorney’s fees.
13                                                COUNT VI
14                                        (RICO 18 U.S.C. § 1962(d))
15      (Plaintiffs on behalf of themselves and the Class Against All Defendants including DOES 1
16                                                through 100)
17          261.    Plaintiffs reallege all allegations as if fully set forth herein, and incorporate
18   previous allegations by reference.
19          262.    MarketAmerica, the Defnedants, and the Individual Defendants agreed to work
20   together in a symbiotic relationship to carry on the illegal scheme. Under that agreement,
21   MarketAmerica, all named defendants, and those named as DOE defendants, and others conspired
22   to violate 18 U.S.C. § 1962(a) and (c), in violation of 18 U.S.C. § 1962(d).
23          263.    As a direct and proximate result of MarketAmerica’s and the Individual
24   Defendants’ violation of 18 U.S.C. § 1962(d), Plaintiffs and the class were injured by
25   MarketAmerica’s and the Individual Defendants’ unlawful conduct. The funds used to buy
26   MarketAmerica products constitute property of Yang and the class under 18 U.S.C. § 1964(c).
27          264.    Under 18 U.S.C. § 1964(c), Plaintiffs and the class are entitled to treble their
28   damages, plus interest, costs and attorney’s fees.

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1            265.      Only in the event the Court determines Plaintiffs’ claims against each of the
2    Defendants’ are “actionable as securities,” do Plaintiffs request leave to amend to assert a
3    Securities claim that relates back to the filing of the action.
4                                                      COUNT VII
5                    The California Seller Assisted Marketing Plan Act §§ 1812.200, et seq.
6        (Plaintiffs on behalf of themselves and the Class Against All Defendants including DOES 1
7                                                      through 100)
8            266.      Plaintiffs reallege and incorporate by reference all of the other allegations as if set
9    forth herein.
10           267.      The MarketAmerica seller assisted marketing plan meets the definitions of a “seller
11   assisted marketing plan” under the California Seller Assisted Marketing Plan Act, Cal. Civ. Code §§
12   1812.200, et seq. and did not qualify for any exemptions thereunder. Specifically, the
13   MarketAmerica seller assisted marketing plan involved Defendants’ sale or lease of product,
14   equipment, supplies, and services for initial payment (including the payment on the premium)
15   exceeding $500 to the Plaintiffs and the Class in connection with or incidental to beginning,
16   maintaining, or operating their respective MarketAmerica distributorship.
17           268.      From within California, Defendants individually and by and through their agents
18   advertised and otherwise solicited the purchase or lease of product, equipment, supplies, and
19   services to the Plaintiffs and the Class as alleged above.
20           269.      Defendants, individually and through its/their agents represented that: (1) Plaintiffs
21   and the Class were likely to earn an amount in excess of the initial payment; (2) there is a market for
22   MarketAmerica products that were purchased by the Plaintiffs and the Class; and (3)
23   MarketAmerica would, partially, buy back and/or is likely to buy back a portion of the product
24   initially sold to the Plaintiffs and the Class.
25           270.      Defendants also represented or implied that they have sold the MarketAmerica seller
26   assisted marketing plan to at least five other individuals in the previous 24 months, and intend to sell
27   the MarketAmerica seller assisted marketing plan to at least five individuals in the next 12 months.
28

     ORIGINAL COMPLAINT – CLASS ACTION                                                                           52
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1            271.    Defendants are sellers of “Seller Assisted Marketing Plans,” as defined in Cal. Civ.
2    Code § 1812.201(d).
3            272.    The Defendants did not provide the Plaintiffs or the Class a “Disclosure Document or
4    an Information Sheet” as required by Cal. Civ. Code §§ 1812.205 and 1812.206. Furthermore, the
5    MarketAmerica business opportunity contracts did not meet the substantive requirements of Cal.
6    Civ. Code § 1812.209. Nor was the MarketAmerica seller assisted marketing plan registered as
7    required by Cal. Civ. Code § 1812.203.
8            273.    As more fully alleged above, Defendants, individually and through their agents,
9    made earnings and market representations to the Plaintiffs and the Class without the substantiating
10   data or disclosures required by Cal. Civ. Code § 1812.204. The representations were fraudulent in
11   violation of Cal. Civ. Code §§ 1812.201 and 1812.204.
12           274.    Defendants’ sale of an unregistered “Seller Assisted Marketing Plan” from the state
13   of California entitles the Plaintiffs and the Class to their actual damages, attorneys’ fees, rescission
14   of the agreements at issue, and punitive damages pursuant to Cal. Civ. Code §§ 1812.215 and
15   1812.218.
16           275.    Defendants’ disclosure violations entitle Plaintiffs and the Class to their actual
17   damages, attorneys' fees, rescission of the agreements at issue, and punitive damages pursuant to
18   Cal. Civ. Code §§ 1812.215 and 1812.218.
19           276.    Plaintiffs seek provisional relief that Market America be required to make necessary
20   disclosures.
21           277.    Defendants’ anti-fraud violations entitle the Plaintiffs and the Class to recover their
22   damages pursuant to Cal. Civ. Code §§ 1812.215 and 1812.218.
23                                          PRAYER FOR RELIEF
24           The named Plaintiffs and the Plaintiffs’ class and subclasses request the following relief:
25           a.      Certification of the class and subclasses;
26           b.      A jury trial and judgment against Defendants;
27           c.      Rescission of the agreements, accounts stated, invoices, receipts, ticket stubs, bills,
28   and any other writings upon which the scheme is based, and recovery of all consideration paid

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1    pursuant to the scheme, less any amounts paid or consideration provided to the participant
2    pursuant to the scheme;
3           d.       Damages for the financial losses incurred by Plaintiff and by the class and
4    subclasses because of the MarketAmerica and the Individual Defendants’ conduct and for injury to
5    their business and property;
6           e.       Restitution and disgorgement of monies;
7           f.       Temporary and permanent injunctive relief enjoining MarketAmerica from paying
8    its Distributors recruiting rewards that are unrelated to retail sales to ultimate users and from
9    further unfair, unlawful, fraudulent and/or deceptive acts;
10          g.       The cost of suit including reasonable attorneys’ fees under California Code of Civil
11   Procedure § 1021.5, Civil Code §1689.2, and otherwise by law;
12          h.       For damages in an amount yet to be ascertained as allowed by law;
13          i.       Appointment of a receiver;
14          j.       Provisional injunctive relief concerning requirements under SAMP;
15          k.       Provisional determination as to the illegality of the so called “Terms”;
16          l.       Provisional relief including appointment of a receiver;
17          m.       Provisional injunctive relief to prohibit Defendants from recruiting additional
18   participants;
19          n.       For such other damages, relief and pre- and post-judgment interest as the Court
20   may deem just and proper.
21
22
     Dated: March 8, 2019                   By:
23                                          LINDEMANN LAW FIRM, APC
                                            BLAKE J. LINDEMANN, SBN 255747
24                                          433 N. Camden Drive, 4th Floor
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27                                          -and-
28

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1                                      DEMAND FOR JURY TRIAL
2           Plaintiffs Jinhua Zou, Yu Xia Lu, Chuanjie Yang, Ollie Lan, Liu Liu, on behalf of
3    themselves and those similarly situated, hereby request a jury trial on all matters so triable.
4
5
     Dated: March 8, 2019                   By:
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16                                          THOSE SIMILARLY SITUATED

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